 Fill in this information to identify your case:

     United States Bankruptcy Court for the:

      Western District of __________
     __________            Washington

     Case number (If known): _________________________ Chapter you are filing under:
                                                          ■ Chapter 7
                                                          
                                                           Chapter 11
                                                           Chapter 12
                                                           Chapter 13                                                  Check if this is an
                                                                                                                          amended filing


Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                       12/15

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.


Part 1:       Identify Yourself

                                        About Debtor 1:                                           About Debtor 2 (Spouse Only in a Joint Case):
1.     Your full name
       Write the name that is on your
       government-issued picture        Melissa
                                        __________________________________________________        __________________________________________________
                                        First name                                                First name
       identification (for example,
       your driver’s license or         Megan
                                        __________________________________________________        __________________________________________________
       passport).                       Middle name                                               Middle name

       Bring your picture               Skerritt
                                        __________________________________________________        __________________________________________________
       identification to your meeting   Last name                                                 Last name
       with the trustee.                ___________________________                               ___________________________
                                        Suffix (Sr., Jr., II, III)                                Suffix (Sr., Jr., II, III)




2.     All other names you              __________________________________________________        __________________________________________________
       have used in the last 8          First name                                                First name
       years
                                        __________________________________________________        __________________________________________________
       Include your married or          Middle name                                               Middle name
       maiden names.                    __________________________________________________        __________________________________________________
                                        Last name                                                 Last name

                                        __________________________________________________        __________________________________________________
                                        First name                                                First name

                                        __________________________________________________        __________________________________________________
                                        Middle name                                               Middle name

                                        __________________________________________________        __________________________________________________
                                        Last name                                                 Last name




3.     Only the last 4 digits of
                                        xxx             7
                                               – xx – ____   8
                                                           ____   8
                                                                ____   9
                                                                     ____                        xxx    – xx – ____ ____ ____ ____
       your Social Security
       number or federal                OR                                                       OR
       Individual Taxpayer
       Identification number            9 xx – xx – ____ ____ ____ ____                          9 xx – xx – ____ ____ ____ ____
       (ITIN)

Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                           page 1

               Case 17-10077-CMA                  Doc 1       Filed 01/09/17           Ent. 01/09/17 17:47:47            Pg. 1 of 62
Debtor 1       Melissa Megan Skerritt
              _______________________________________________________                              Case number (if known)_____________________________________
              First Name   Middle Name             Last Name




                                         About Debtor 1:                                                About Debtor 2 (Spouse Only in a Joint Case):


4.   Any business names
     and Employer                        ■ I have not used any business names or EINs.
                                                                                                        I have not used any business names or EINs.
     Identification Numbers
     (EIN) you have used in              _________________________________________________              _________________________________________________
     the last 8 years                    Business name                                                  Business name

     Include trade names and
                                         _________________________________________________              _________________________________________________
     doing business as names             Business name                                                  Business name


                                         ___ ___ – ___ ___ ___ ___ ___ ___ ___                          ___ ___ – ___ ___ ___ ___ ___ ___ ___
                                         EIN                                                            EIN

                                         ___ ___ – ___ ___ ___ ___ ___ ___ ___                          ___ ___ – ___ ___ ___ ___ ___ ___ ___
                                         EIN                                                            EIN




5.   Where you live                                                                                     If Debtor 2 lives at a different address:


                                         11911 Miller Rd NE
                                         _________________________________________________              _________________________________________________
                                         Number     Street                                              Number     Street


                                         _________________________________________________              _________________________________________________


                                         Bainbridge Island                WA      98110
                                         _________________________________________________              _________________________________________________
                                         City                            State   ZIP Code               City                            State   ZIP Code

                                         Kitsap
                                         _________________________________________________              _________________________________________________
                                         County                                                         County


                                         If your mailing address is different from the one              If Debtor 2’s mailing address is different from
                                         above, fill it in here. Note that the court will send          yours, fill it in here. Note that the court will send
                                         any notices to you at this mailing address.                    any notices to this mailing address.


                                         _________________________________________________              _________________________________________________
                                         Number     Street                                              Number     Street

                                         _________________________________________________              _________________________________________________
                                         P.O. Box                                                       P.O. Box

                                         _________________________________________________              _________________________________________________
                                         City                            State   ZIP Code               City                            State   ZIP Code




6.   Why you are choosing                Check one:                                                     Check one:
     this district to file for
     bankruptcy                          
                                         ■ Over the last 180 days before filing this petition,           Over the last 180 days before filing this petition,
                                            I have lived in this district longer than in any               I have lived in this district longer than in any
                                            other district.                                                other district.

                                          I have another reason. Explain.                               I have another reason. Explain.
                                            (See 28 U.S.C. § 1408.)                                        (See 28 U.S.C. § 1408.)
                                            ________________________________________                       ________________________________________
                                            ________________________________________                       ________________________________________
                                            ________________________________________                       ________________________________________
                                            ________________________________________                       ________________________________________



Official Form 101                                  Voluntary Petition for Individuals Filing for Bankruptcy                                     page 2

            Case 17-10077-CMA                       Doc 1        Filed 01/09/17                Ent. 01/09/17 17:47:47              Pg. 2 of 62
Debtor 1      Melissa Megan Skerritt
             _______________________________________________________                            Case number (if known)_____________________________________
             First Name   Middle Name             Last Name




Part 2:    Tell the Court About Your Bankruptcy Case


7.   The chapter of the                 Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
     Bankruptcy Code you                for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     are choosing to file
     under
                                        
                                        ■ Chapter 7
                                         Chapter 11
                                         Chapter 12
                                         Chapter 13

8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk’s office in your
                                           local court for more details about how you may pay. Typically, if you are paying the fee
                                           yourself, you may pay with cash, cashier’s check, or money order. If your attorney is
                                           submitting your payment on your behalf, your attorney may pay with a credit card or check
                                           with a pre-printed address.

                                        
                                        ■ I need to pay the fee in installments. If you choose this option, sign and attach the
                                           Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                         I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                           By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                           less than 150% of the official poverty line that applies to your family size and you are unable to
                                           pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                           Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.


9.   Have you filed for                 
                                        ■ No
     bankruptcy within the
     last 8 years?                       Yes. District __________________________ When        _______________ Case number ___________________________
                                                                                               MM / DD / YYYY

                                                  District __________________________ When     _______________ Case number ___________________________
                                                                                               MM / DD / YYYY

                                                  District __________________________ When     _______________ Case number ___________________________
                                                                                               MM / DD / YYYY



10. Are any bankruptcy                  ■ No
                                        
     cases pending or being
     filed by a spouse who is            Yes. Debtor _________________________________________________ Relationship to you         _____________________
     not filing this case with                    District __________________________ When     _______________ Case number, if known____________________
     you, or by a business                                                                     MM / DD / YYYY
     partner, or by an
     affiliate?
                                                  Debtor _________________________________________________ Relationship to you      _____________________

                                                  District __________________________ When     _______________ Case number, if known____________________
                                                                                               MM / DD / YYYY



11. Do you rent your                     No. Go to line 12.
     residence?                         
                                        ■ Yes. Has your landlord obtained an eviction judgment against you and do you want to stay in your
                                                  residence?

                                                  
                                                  ■ No. Go to line 12.
                                                   Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it with
                                                       this bankruptcy petition.



Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                                   page 3

            Case 17-10077-CMA                      Doc 1         Filed 01/09/17          Ent. 01/09/17 17:47:47                Pg. 3 of 62
Debtor 1       Melissa Megan Skerritt
              _______________________________________________________                                   Case number (if known)_____________________________________
              First Name        Middle Name             Last Name




Part 3:     Report About Any Businesses You Own as a Sole Proprietor


12. Are you a sole proprietor                  No. Go to Part 4.
                                              ■
    of any full- or part-time
    business?                                  Yes. Name and location of business
    A sole proprietorship is a
    business you operate as an                        _______________________________________________________________________________________
                                                      Name of business, if any
    individual, and is not a
    separate legal entity such as
    a corporation, partnership, or                    _______________________________________________________________________________________
                                                      Number    Street
    LLC.
    If you have more than one
                                                      _______________________________________________________________________________________
    sole proprietorship, use a
    separate sheet and attach it
    to this petition.                                 _______________________________________________          _______      __________________________
                                                       City                                                    State        ZIP Code


                                                      Check the appropriate box to describe your business:
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under                      If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
    Chapter 11 of the                         can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
    Bankruptcy Code and                       most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if
                                              any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
    are you a small business
    debtor?
                                               No. I am not filing under Chapter 11.
                                              ■
    For a definition of small
    business debtor, see                       No. I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
    11 U.S.C. § 101(51D).                             the Bankruptcy Code.

                                               Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
                                                      Bankruptcy Code.


Part 4:     Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


14. Do you own or have any                    ■ No
                                              
   property that poses or is
   alleged to pose a threat                    Yes. What is the hazard?        ________________________________________________________________________
   of imminent and
   identifiable hazard to                                                       ________________________________________________________________________
   public health or safety?
   Or do you own any
   property that needs
                                                        If immediate attention is needed, why is it needed? _______________________________________________
   immediate attention?
   For example, do you own                                                      ________________________________________________________________________
   perishable goods, or livestock
   that must be fed, or a building
   that needs urgent repairs?
                                                        Where is the property? ________________________________________________________________________
                                                                                Number         Street


                                                                                ________________________________________________________________________

                                                                                ________________________________________ _______           ____________________
                                                                                City                                     State             ZIP Code


Official Form 101                                      Voluntary Petition for Individuals Filing for Bankruptcy                                    page 4

             Case 17-10077-CMA                           Doc 1       Filed 01/09/17           Ent. 01/09/17 17:47:47                  Pg. 4 of 62
Debtor 1       Melissa Megan Skerritt
              _______________________________________________________                                   Case number (if known)_____________________________________
              First Name     Middle Name             Last Name




Part 5:     Explain Your Efforts to Receive a Briefing About Credit Counseling

                                           About Debtor 1:                                                    About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether
   you have received a
   briefing about credit                   You must check one:                                                You must check one:
   counseling.
                                           
                                           ■ I received a briefing from an approved credit                     I received a briefing from an approved credit
                                              counseling agency within the 180 days before I                     counseling agency within the 180 days before I
    The law requires that you                 filed this bankruptcy petition, and I received a                   filed this bankruptcy petition, and I received a
    receive a briefing about credit           certificate of completion.                                         certificate of completion.
    counseling before you file for
                                              Attach a copy of the certificate and the payment                   Attach a copy of the certificate and the payment
    bankruptcy. You must
                                              plan, if any, that you developed with the agency.                  plan, if any, that you developed with the agency.
    truthfully check one of the
    following choices. If you
    cannot do so, you are not
                                            I received a briefing from an approved credit                     I received a briefing from an approved credit
                                              counseling agency within the 180 days before I                     counseling agency within the 180 days before I
    eligible to file.                         filed this bankruptcy petition, but I do not have a                filed this bankruptcy petition, but I do not have a
                                              certificate of completion.                                         certificate of completion.
    If you file anyway, the court
                                              Within 14 days after you file this bankruptcy petition,            Within 14 days after you file this bankruptcy petition,
    can dismiss your case, you
                                              you MUST file a copy of the certificate and payment                you MUST file a copy of the certificate and payment
    will lose whatever filing fee
                                              plan, if any.                                                      plan, if any.
    you paid, and your creditors
    can begin collection activities         I certify that I asked for credit counseling                      I certify that I asked for credit counseling
    again.                                    services from an approved agency, but was                          services from an approved agency, but was
                                              unable to obtain those services during the 7                       unable to obtain those services during the 7
                                              days after I made my request, and exigent                          days after I made my request, and exigent
                                              circumstances merit a 30-day temporary waiver                      circumstances merit a 30-day temporary waiver
                                              of the requirement.                                                of the requirement.
                                              To ask for a 30-day temporary waiver of the                        To ask for a 30-day temporary waiver of the
                                              requirement, attach a separate sheet explaining                    requirement, attach a separate sheet explaining
                                              what efforts you made to obtain the briefing, why                  what efforts you made to obtain the briefing, why
                                              you were unable to obtain it before you filed for                  you were unable to obtain it before you filed for
                                              bankruptcy, and what exigent circumstances                         bankruptcy, and what exigent circumstances
                                              required you to file this case.                                    required you to file this case.
                                              Your case may be dismissed if the court is                         Your case may be dismissed if the court is
                                              dissatisfied with your reasons for not receiving a                 dissatisfied with your reasons for not receiving a
                                              briefing before you filed for bankruptcy.                          briefing before you filed for bankruptcy.
                                              If the court is satisfied with your reasons, you must              If the court is satisfied with your reasons, you must
                                              still receive a briefing within 30 days after you file.            still receive a briefing within 30 days after you file.
                                              You must file a certificate from the approved                      You must file a certificate from the approved
                                              agency, along with a copy of the payment plan you                  agency, along with a copy of the payment plan you
                                              developed, if any. If you do not do so, your case                  developed, if any. If you do not do so, your case
                                              may be dismissed.                                                  may be dismissed.
                                              Any extension of the 30-day deadline is granted                    Any extension of the 30-day deadline is granted
                                              only for cause and is limited to a maximum of 15                   only for cause and is limited to a maximum of 15
                                              days.                                                              days.

                                            I am not required to receive a briefing about                     I am not required to receive a briefing about
                                              credit counseling because of:                                      credit counseling because of:

                                               Incapacity.      I have a mental illness or a mental              Incapacity.      I have a mental illness or a mental
                                                                 deficiency that makes me                                           deficiency that makes me
                                                                 incapable of realizing or making                                   incapable of realizing or making
                                                                 rational decisions about finances.                                 rational decisions about finances.
                                               Disability.      My physical disability causes me                 Disability.      My physical disability causes me
                                                                 to be unable to participate in a                                   to be unable to participate in a
                                                                 briefing in person, by phone, or                                   briefing in person, by phone, or
                                                                 through the internet, even after I                                 through the internet, even after I
                                                                 reasonably tried to do so.                                         reasonably tried to do so.
                                               Active duty. I am currently on active military                    Active duty. I am currently on active military
                                                                 duty in a military combat zone.                                    duty in a military combat zone.
                                              If you believe you are not required to receive a                   If you believe you are not required to receive a
                                              briefing about credit counseling, you must file a                  briefing about credit counseling, you must file a
                                              motion for waiver of credit counseling with the court.             motion for waiver of credit counseling with the court.




Official Form 101                                   Voluntary Petition for Individuals Filing for Bankruptcy                                         page 5

             Case 17-10077-CMA                        Doc 1        Filed 01/09/17              Ent. 01/09/17 17:47:47                  Pg. 5 of 62
Debtor 1      Melissa Megan Skerritt
             _______________________________________________________                                  Case number (if known)_____________________________________
             First Name    Middle Name             Last Name




Part 6:    Answer These Questions for Reporting Purposes

                                         16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
16. What kind of debts do                     as “incurred by an individual primarily for a personal, family, or household purpose.”
    you have?
                                               No. Go to line 16b.
                                              ■
                                               Yes. Go to line 17.
                                         16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                              money for a business or investment or through the operation of the business or investment.
                                              ■
                                               No. Go to line 16c.
                                               Yes. Go to line 17.
                                         16c. State the type of debts you owe that are not consumer debts or business debts.
                                              _______________________________________________________________

17. Are you filing under
    Chapter 7?                            No. I am not filing under Chapter 7. Go to line 18.
    Do you estimate that after           
                                         ■ Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
    any exempt property is                        administrative expenses are paid that funds will be available to distribute to unsecured creditors?
    excluded and                                  ■ No
                                                  
    administrative expenses
    are paid that funds will be                    Yes
    available for distribution
    to unsecured creditors?

18. How many creditors do                
                                         ■ 1-49                                      1,000-5,000                            25,001-50,000
    you estimate that you                 50-99                                     5,001-10,000                           50,001-100,000
    owe?                                  100-199                                   10,001-25,000                          More than 100,000
                                          200-999
19. How much do you                      ■ $0-$50,000
                                                                                    $1,000,001-$10 million                 $500,000,001-$1 billion
    estimate your assets to               $50,001-$100,000                          $10,000,001-$50 million                $1,000,000,001-$10 billion
    be worth?                             $100,001-$500,000                         $50,000,001-$100 million               $10,000,000,001-$50 billion
                                          $500,001-$1 million                       $100,000,001-$500 million              More than $50 billion
20. How much do you                      
                                         ■ $0-$50,000                                $1,000,001-$10 million                 $500,000,001-$1 billion
   estimate your liabilities              $50,001-$100,000                          $10,000,001-$50 million                $1,000,000,001-$10 billion
   to be?                                 $100,001-$500,000                         $50,000,001-$100 million               $10,000,000,001-$50 billion
                                          $500,001-$1 million                       $100,000,001-$500 million              More than $50 billion
Part 7:    Sign Below

                                         I have examined this petition, and I declare under penalty of perjury that the information provided is true and
For you                                  correct.
                                         If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13
                                         of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                         under Chapter 7.
                                         If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                         this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                         I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                         I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                         with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
                                         18 U.S.C. §§ 152, 1341, 1519, and 3571.


                                          /s/ Melissa Megan Skerritt
                                             ______________________________________________              _____________________________
                                            Signature of Debtor 1                                            Signature of Debtor 2

                                                           01/09/2017
                                            Executed on _________________                                    Executed on __________________
                                                               MM   / DD   / YYYY                                          MM / DD     / YYYY


Official Form 101                                  Voluntary Petition for Individuals Filing for Bankruptcy                                       page 6

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Debtor 1      Melissa Megan Skerritt
             _______________________________________________________                               Case number (if known)_____________________________________
             First Name   Middle Name             Last Name




                                        I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility
For your attorney, if you are           to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
represented by one                      available under each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s)
                                        the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no
If you are not represented              knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
by an attorney, you do not
need to file this page.
                                        _________________________________
                                         /s/ Lance L Lee                                                    Date           _________________
                                                                                                                                01/09/2017
                                           Signature of Attorney for Debtor                                                MM    /   DD / YYYY




                                            Lance L. Lee
                                           _________________________________________________________________________________________________
                                           Printed name

                                            Law Offices of Lance L. Lee
                                           _________________________________________________________________________________________________
                                           Firm name

                                            1001 4th Ave Ste 3200
                                           _________________________________________________________________________________________________
                                           Number Street

                                           _________________________________________________________________________________________________

                                            Seattle
                                           ______________________________________________________  WA
                                                                                                  ____________  98154-1003
                                                                                                               ______________________________
                                           City                                                   State        ZIP Code




                                                          (206) 332-9841
                                           Contact phone _____________________________________             Email address    ecf@lancelee.com
                                                                                                                           ______________________________




                                           WSBA #26518
                                           ______________________________________________________  WA
                                                                                                  ____________
                                           Bar number                                             State




Official Form 101                                 Voluntary Petition for Individuals Filing for Bankruptcy                                       page 7

            Case 17-10077-CMA                      Doc 1         Filed 01/09/17            Ent. 01/09/17 17:47:47                    Pg. 7 of 62
 Fill in this information to identify your case:

 Debtor 1           Melissa Megan Skerritt
                   __________________________________________________________________
                     First Name                      Middle Name                      Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                      Middle Name                      Last Name


                                                              Washington
                                          Western District of __________
 United States Bankruptcy Court for the: __________

 Case number         ___________________________________________                                                                                                            Check if this is an
                     (If known)                                                                                                                                                amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


Part 1:        Summarize Your Assets


                                                                                                                                                                        Your assets
                                                                                                                                                                        Value of what you own
1. Schedule A/B: Property (Official Form 106A/B)
                                                                                                                                                                                        0.00
                                                                                                                                                                            $ ________________
    1a. Copy line 55, Total real estate, from Schedule A/B ..........................................................................................................


   1b. Copy line 62, Total personal property, from Schedule A/B ...............................................................................................                    18,973.00
                                                                                                                                                                            $ ________________


   1c. Copy line 63, Total of all property on Schedule A/B .........................................................................................................             18,973.00
                                                                                                                                                                            $ ________________



Part 2:        Summarize Your Liabilities



                                                                                                                                                                        Your liabilities
                                                                                                                                                                        Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
                                                                                                                                                                                   31,366.00
                                                                                                                                                                            $ ________________
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ............


3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                                        0.00
                                                                                                                                                                            $ ________________
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ............................................

   3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F .......................................
                                                                                                                                                                                 16,529.23
                                                                                                                                                                        + $ ________________

                                                                                                                                       Your total liabilities                    47,895.23
                                                                                                                                                                            $ ________________



Part 3:        Summarize Your Income and Expenses


4. Schedule I: Your Income (Official Form 106I)
                                                                                                                                                                                   3,830.63
                                                                                                                                                                            $ ________________
   Copy your combined monthly income from line 12 of Schedule I ..........................................................................................

5. Schedule J: Your Expenses (Official Form 106J)
   Copy your monthly expenses from line 22c of Schedule J ....................................................................................................                     3,816.00
                                                                                                                                                                            $ ________________




Official Form 106Sum                                 Summary of Your Assets and Liabilities and Certain Statistical Information                                                  page 1 of 2
                Case 17-10077-CMA                              Doc 1           Filed 01/09/17                    Ent. 01/09/17 17:47:47                             Pg. 8 of 62
   Debtor 1          Melissa Megan Skerritt
                    _______________________________________________________                           Case number (if known)_____________________________________
                    First Name     Middle Name        Last Name




   Part 4:        Answer These Questions for Administrative and Statistical Records

   6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

        No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
       
       ■ Yes

   7. What kind of debt do you have?

       
       ■ Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
              family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

        Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
              this form to the court with your other schedules.



   8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
       Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                      5,352.12
                                                                                                                                          $ _________________




   9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:



                                                                                                              Total claim


        From Part 4 on Schedule E/F, copy the following:


       9a. Domestic support obligations (Copy line 6a.)                                                       $_____________________



       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                              $_____________________


       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                    $_____________________



       9d. Student loans. (Copy line 6f.)                                                                     $_____________________


       9e. Obligations arising out of a separation agreement or divorce that you did not report as            $_____________________
           priority claims. (Copy line 6g.)

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)              + $_____________________


       9g. Total. Add lines 9a through 9f.                                                                                   0.00
                                                                                                              $_____________________




Official Form 106Sum         Summary of Your Assets and Liabilities and Certain Statistical Information                                          page 2 of 2
                  Case 17-10077-CMA                    Doc 1        Filed 01/09/17            Ent. 01/09/17 17:47:47                Pg. 9 of 62
Fill in this information to identify your case and this filing:


Debtor 1            Melissa Megan Skerritt
                  __________________________________________________________________
                    First Name               Middle Name               Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name               Middle Name               Last Name


                                         Western District of ___________
United States Bankruptcy Court for the: __________            Washington

Case number         ___________________________________________
                                                                                                                                         Check if this is an
                                                                                                                                             amended filing

Official Form 106A/B
Schedule A/B: Property                                                                                                                                  12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

Part 1:        Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

    
    ■ No. Go to Part 2.
     Yes. Where is the property?
                                                                 What is the property? Check all that apply.       Do not deduct secured claims or exemptions. Put
                                                                  Single-family home                              the amount of any secured claims on Schedule D:
                                                                                                                   Creditors Who Have Claims Secured by Property.
      1.1. _________________________________________
           Street address, if available, or other description
                                                                  Duplex or multi-unit building
                                                                  Condominium or cooperative                      Current value of the     Current value of the
                                                                  Manufactured or mobile home                     entire property?         portion you own?
             _________________________________________
                                                                  Land                                            $________________        $_______________
                                                                  Investment property
             _________________________________________
             City                    State   ZIP Code
                                                                  Timeshare                                       Describe the nature of your ownership
                                                                                                                   interest (such as fee simple, tenancy by
                                                                  Other __________________________________        the entireties, or a life estate), if known.
                                                                 Who has an interest in the property? Check one.
                                                                                                                   __________________________________________
                                                                 
                                                                  Debtor 1 only
             _________________________________________
             County                                              
                                                                  Debtor 2 only
                                                                 
                                                                  Debtor 1 and Debtor 2 only                        Check if this is community property
                                                                                                                       (see instructions)
                                                                 
                                                                  At least one of the debtors and another
                                                                 Other information you wish to add about this item, such as local
                                                                 property identification number: _______________________________
    If you own or have more than one, list here:
                                                                What is the property? Check all that apply.        Do not deduct secured claims or exemptions. Put
                                                                 Single-family home                               the amount of any secured claims on Schedule D:
                                                                                                                   Creditors Who Have Claims Secured by Property.
      1.2. ________________________________________
           Street address, if available, or other description
                                                                 Duplex or multi-unit building
                                                                 Condominium or cooperative                       Current value of the     Current value of the
                                                                 Manufactured or mobile home                      entire property?         portion you own?
             ________________________________________
                                                                 Land                                             $________________        $_________________
                                                                 Investment property
             ________________________________________
             City                    State   ZIP Code
                                                                 Timeshare                                        Describe the nature of your ownership
                                                                                                                   interest (such as fee simple, tenancy by
                                                                 Other __________________________________         the entireties, or a life estate), if known.
                                                                Who has an interest in the property? Check one.    __________________________________________

                                                                
                                                                 Debtor 1 only
             ________________________________________
             County                                             
                                                                 Debtor 2 only
                                                                
                                                                 Debtor 1 and Debtor 2 only                         Check if this is community property
                                                                
                                                                 At least one of the debtors and another               (see instructions)

                                                                Other information you wish to add about this item, such as local
                                                                property identification number: _______________________________


Official Form 106A/B                                            Schedule A/B: Property                                                              page 1
                Case 17-10077-CMA                      Doc 1       Filed 01/09/17            Ent. 01/09/17 17:47:47              Pg. 10 of 62
Debtor 1       Melissa Megan Skerritt
               _______________________________________________________                                Case number (if known)_____________________________________
               First Name       Middle Name          Last Name




                                                                 What is the property? Check all that apply.             Do not deduct secured claims or exemptions. Put

    1.3. ________________________________________
                                                                  Single-family home                                    the amount of any secured claims on Schedule D:
                                                                                                                         Creditors Who Have Claims Secured by Property.
         Street address, if available, or other description       Duplex or multi-unit building
                                                                  Condominium or cooperative                            Current value of the      Current value of the
                                                                                                                         entire property?          portion you own?
           ________________________________________               Manufactured or mobile home
                                                                  Land                                                  $________________         $_________________

           ________________________________________
                                                                  Investment property
           City                    State   ZIP Code               Timeshare                                             Describe the nature of your ownership
                                                                                                                         interest (such as fee simple, tenancy by
                                                                  Other __________________________________              the entireties, or a life estate), if known.
                                                                                                                        __________________________________________
                                                                 Who has an interest in the property? Check one.
           ________________________________________              
                                                                  Debtor 1 only
           County
                                                                 
                                                                  Debtor 2 only
                                                                 
                                                                  Debtor 1 and Debtor 2 only                              Check if this is community property
                                                                 
                                                                  At least one of the debtors and another
                                                                                                                             (see instructions)

                                                                 Other information you wish to add about this item, such as local
                                                                 property identification number: _______________________________


2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
                                                                                                                                                   $_________________
   you have attached for Part 1. Write that number here. ......................................................................................




Part 2:     Describe Your Vehicles


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

   No
   ■ Yes
   

           Make:                         Suburu
                                      ______________             Who has an interest in the property? Check one.         Do not deduct secured claims or exemptions. Put
   3.1.

           Model:                        Forester
                                      ______________
                                                                 ■ Debtor 1 only
                                                                                                                       the amount of any secured claims on Schedule D:
                                                                                                                         Creditors Who Have Claims Secured by Property.
                                          2011
                                                                 Debtor 2 only
           Year:                      ____________
                                                                 Debtor 1 and Debtor 2 only                            Current value of the      Current value of the
                                   70,000                                                                                entire property?          portion you own?
           Approximate mileage: ____________                     At least one of the debtors and another
           Other information:
                                                                                                                                12,800.00                 18,000.00
                                                                  Check if this is community property (see              $________________         $________________
                                                                    instructions)



   If you own or have more than one, describe here:

           Make:                           Jeep
                                      ______________             Who has an interest in the property? Check one.         Do not deduct secured claims or exemptions. Put
   3.2.

           Model:               GrandCherokeeLaredo
                                   ______________
                                                                 
                                                                 ■ Debtor 1 only                                         the amount of any secured claims on Schedule D:
                                                                                                                         Creditors Who Have Claims Secured by Property.
                                          2002
                                                                 Debtor 2 only
           Year:                      ____________
                                                                 Debtor 1 and Debtor 2 only
                                                                                                                         Current value of the
                                                                                                                         entire property?
                                                                                                                                                   Current value of the
                                                                                                                                                   portion you own?
                                  165,000
           Approximate mileage: ____________                     At least one of the debtors and another
           Other information:
                                                                                                                                  500.00                   1,500.00
           has substantial damage                                 Check if this is community property (see              $________________         $________________
                                                                    instructions)




Official Form 106A/B                                             Schedule A/B: Property                                                                   page 2
             Case 17-10077-CMA                       Doc 1          Filed 01/09/17            Ent. 01/09/17 17:47:47                   Pg. 11 of 62
Debtor 1          Melissa Megan Skerritt
                  _______________________________________________________                                                     Case number (if known)_____________________________________
                  First Name         Middle Name                Last Name




           Make:                            ______________                  Who has an interest in the property? Check one.                           Do not deduct secured claims or exemptions. Put
   3.3.

           Model:                           ______________
                                                                            
                                                                             Debtor 1 only
                                                                                                                                                      the amount of any secured claims on Schedule D:
                                                                                                                                                      Creditors Who Have Claims Secured by Property.
                                                                            
                                                                             Debtor 2 only
           Year:                            ____________
                                                                            
                                                                             Debtor 1 and Debtor 2 only                                               Current value of the            Current value of the
                                                                                                                                                      entire property?                portion you own?
           Approximate mileage: ____________                                
                                                                             At least one of the debtors and another
           Other information:
                                                                              Check if this is community property (see                               $________________               $________________
                                                                                 instructions)


           Make:                            ______________                  Who has an interest in the property? Check one.                           Do not deduct secured claims or exemptions. Put
   3.4.

           Model:                           ______________
                                                                            
                                                                             Debtor 1 only
                                                                                                                                                      the amount of any secured claims on Schedule D:
                                                                                                                                                      Creditors Who Have Claims Secured by Property.
                                                                            
                                                                             Debtor 2 only
           Year:                            ____________
                                                                            
                                                                             Debtor 1 and Debtor 2 only                                               Current value of the            Current value of the
                                                                                                                                                      entire property?                portion you own?
           Approximate mileage: ____________                                
                                                                             At least one of the debtors and another
           Other information:
                                                                              Check if this is community property (see                               $________________               $________________
                                                                                 instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
   ■
   No
    Yes

           Make:        ____________________                                Who has an interest in the property? Check one.                           Do not deduct secured claims or exemptions. Put
   4.1.

           Model: ____________________                                      
                                                                             Debtor 1 only
                                                                                                                                                      the amount of any secured claims on Schedule D:
                                                                                                                                                      Creditors Who Have Claims Secured by Property.
                                                                            
                                                                             Debtor 2 only
           Year:        ____________
                                                                            
                                                                             Debtor 1 and Debtor 2 only                                               Current value of the            Current value of the
           Other information:                                               
                                                                             At least one of the debtors and another                                  entire property?                portion you own?

                                                                             Check if this is community property (see                                $________________               $________________
                                                                                 instructions)



   If you own or have more than one, list here:

           Make:        ____________________                                Who has an interest in the property? Check one.                           Do not deduct secured claims or exemptions. Put
   4.2.

           Model: ____________________                                      
                                                                             Debtor 1 only
                                                                                                                                                      the amount of any secured claims on Schedule D:
                                                                                                                                                      Creditors Who Have Claims Secured by Property.
                                                                            
                                                                             Debtor 2 only
           Year:        ____________                                                                                                                  Current value of the            Current value of the
                                                                            
                                                                             Debtor 1 and Debtor 2 only
                                                                                                                                                      entire property?                portion you own?
           Other information:                                               
                                                                             At least one of the debtors and another

                                                                                                                                                      $________________               $________________
                                                                             Check if this is community property (see
                                                                                 instructions)




5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages                                                                         13,300.00
                                                                                                                                                                                     $_________________
   you have attached for Part 2. Write that number here ........................................................................................................................ 




Official Form 106A/B                                                         Schedule A/B: Property                                                                                         page 3
               Case 17-10077-CMA                               Doc 1             Filed 01/09/17                    Ent. 01/09/17 17:47:47                               Pg. 12 of 62
Debtor 1            Melissa Megan Skerritt
                    _______________________________________________________                                                                Case number (if known)_____________________________________
                    First Name           Middle Name                  Last Name




Part 3:       Describe Your Personal and Household Items

                                                                                                                                                                                               Current value of the
Do you own or have any legal or equitable interest in any of the following items?                                                                                                              portion you own?
                                                                                                                                                                                               Do not deduct secured claims
                                                                                                                                                                                               or exemptions.

6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
    No
    Yes. Describe. ........ misc, including furniture
   ■                                                                                                                                                                                                        200.00
                                                                                                                                                                                                $___________________

7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
             collections; electronic devices including cell phones, cameras, media players, games
    No
    Yes. Describe. ......... TV, cell phone
   ■                                                                                                                                                                                                        300.00
                                                                                                                                                                                                $___________________

8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
             stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
    No
   ■
    Yes. Describe. ......... misc books, CDs, DVDs, Beanie Babies, paintings (by non-famous artists)                                                                                                       400.00
                                                                                                                                                                                                $___________________

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
             and kayaks; carpentry tools; musical instruments
   ■ No
   
    Yes. Describe. .........                                                                                                                                                                   $___________________

10. Firearms
   Examples: Pistols, rifles, shotguns, ammunition, and related equipment
   ■ No
   
    Yes. Describe. ..........                                                                                                                                                                  $___________________

11. Clothes
   Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
    No
    Yes. Describe. ..........misc
   ■                                                                                                                                                                                                        500.00
                                                                                                                                                                                                $___________________


12. Jewelry
   Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
             gold, silver
    No                        FitBit
   
   ■ Yes. Describe. ..........                                                                                                                                                                  $___________________
                                                                                                                                                                                                             99.00

13. Non-farm animals
   Examples: Dogs, cats, birds, horses

    No
   ■ Yes. Describe. ..........Dog and 3 cats
                                                                                                                                                                                                             0.00
                                                                                                                                                                                                $___________________

14. Any other personal and household items you did not already list, including any health aids you did not list

   ■ No
   
    Yes. Give specific                                                                                                                                                                         $___________________
        information. ..............

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
                                                                                                                                                                                                             1,499.00
                                                                                                                                                                                                $______________________
   for Part 3. Write that number here .................................................................................................................................................... 



Official Form 106A/B                                                                 Schedule A/B: Property                                                                                                 page 4
                Case 17-10077-CMA                                     Doc 1              Filed 01/09/17                        Ent. 01/09/17 17:47:47                                   Pg. 13 of 62
 Debtor 1               Melissa Megan Skerritt
                        _______________________________________________________                                                                        Case number (if known)_____________________________________
                        First Name            Middle Name                    Last Name




Part 4:           Describe Your Financial Assets

Do you own or have any legal or equitable interest in any of the following?                                                                                                                                 Current value of the
                                                                                                                                                                                                            portion you own?
                                                                                                                                                                                                            Do not deduct secured claims
                                                                                                                                                                                                            or exemptions.


16. Cash
     Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

 No
 ■ Yes ................................................................................................................................................................ 
                                                                                                                                                                          Cash: .......................               1,150.00
                                                                                                                                                                                                             $__________________



17. Deposits of money
     Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
               and other similar institutions. If you have multiple accounts with the same institution, list each.
     
     ■ No
      Yes .....................                                                               Institution name:


                                               17.1. Checking account:                          Wells Fargo Bank
                                                                                               _________________________________________________________                                                                  24.00
                                                                                                                                                                                                             $__________________

                                               17.2. Checking account:                         _________________________________________________________                                                     $__________________

                                               17.3. Savings account:                          _________________________________________________________                                                     $__________________

                                               17.4. Savings account:                          _________________________________________________________                                                     $__________________

                                               17.5. Certificates of deposit:                  _________________________________________________________                                                     $__________________

                                               17.6. Other financial account:                  _________________________________________________________                                                     $__________________

                                               17.7. Other financial account:                  _________________________________________________________                                                     $__________________

                                               17.8. Other financial account:                  _________________________________________________________                                                     $__________________

                                               17.9. Other financial account:                  _________________________________________________________                                                     $__________________




18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts

 ■ No
 Yes .................                       Institution or issuer name:

                                               _________________________________________________________________________________________                                                                     $__________________
                                               _________________________________________________________________________________________                                                                     $__________________
                                               _________________________________________________________________________________________                                                                     $__________________




19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
     an LLC, partnership, and joint venture

     
     ■ No                                      Name of entity:                                                                                                              % of ownership:
     Yes. Give specific                      _____________________________________________________________________                                                            0.0%
                                                                                                                                                                            ___________%                     $__________________
           information about
           them.........................       _____________________________________________________________________                                                            0.0%
                                                                                                                                                                            ___________%                     $__________________
                                               _____________________________________________________________________                                                            0.0%
                                                                                                                                                                            ___________%                     $__________________




 Official Form 106A/B                                                                        Schedule A/B: Property                                                                                                      page 5
                   Case 17-10077-CMA                                         Doc 1               Filed 01/09/17                           Ent. 01/09/17 17:47:47                                    Pg. 14 of 62
Debtor 1            Melissa Megan Skerritt
                   _______________________________________________________                             Case number (if known)_____________________________________
                   First Name         Middle Name            Last Name




20. Government and corporate bonds and other negotiable and non-negotiable instruments
   Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
   Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.


 ■ No
 Yes. Give specific                 Issuer name:
        information about
        them.......................   ______________________________________________________________________________________               $__________________
                                      ______________________________________________________________________________________
                                                                                                                                           $__________________
                                      ______________________________________________________________________________________
                                                                                                                                           $__________________


21. Retirement or pension accounts
   Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
   
   ■ No
    Yes. List each
        account separately.           Type of account:          Institution name:

                                      401(k) or similar plan:   ___________________________________________________________________        $__________________

                                      Pension plan:             ___________________________________________________________________        $__________________

                                      IRA:                      ___________________________________________________________________        $__________________

                                      Retirement account:       ___________________________________________________________________        $__________________

                                      Keogh:                    ___________________________________________________________________        $__________________

                                      Additional account:       ___________________________________________________________________        $__________________

                                      Additional account:       ___________________________________________________________________        $__________________



22. Security deposits and prepayments
   Your share of all unused deposits you have made so that you may continue service or use from a company
   Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
   companies, or others

    No
   
   ■ Yes ..........................                         Institution name or individual:

                                      Electric:             ______________________________________________________________________         $___________________
                                      Gas:                  ______________________________________________________________________         $___________________
                                      Heating oil:          ______________________________________________________________________
                                                                                                                                           $___________________
                                                                        in possession of Landlord
                                      Security deposit on rental unit: _____________________________________________________________                  1,000.00
                                                                                                                                           $___________________
                                      Prepaid rent:         ______________________________________________________________________
                                                                                                                                           $___________________
                                      Telephone:            ______________________________________________________________________
                                                                                                                                           $___________________
                                      Water:                ______________________________________________________________________
                                                                                                                                           $___________________
                                      Rented furniture:     ______________________________________________________________________
                                                                                                                                           $___________________
                                      Other:                ______________________________________________________________________
                                                                                                                                           $___________________


23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

   
   ■ No
    Yes ..........................   Issuer name and description:
                                       _______________________________________________________________________________________             $__________________
                                      _______________________________________________________________________________________              $__________________
                                      _______________________________________________________________________________________              $__________________


Official Form 106A/B                                                     Schedule A/B: Property                                                        page 6
                Case 17-10077-CMA                            Doc 1         Filed 01/09/17         Ent. 01/09/17 17:47:47               Pg. 15 of 62
Debtor 1           Melissa Megan Skerritt
                   _______________________________________________________                                  Case number (if known)_____________________________________
                   First Name          Middle Name           Last Name




24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
   26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
   
   ■ No
    Yes ....................................   Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

                                                ____________________________________________________________________________________                 $_________________
                                                ____________________________________________________________________________________                 $_________________
                                                ____________________________________________________________________________________                 $_________________


25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
   exercisable for your benefit

   
   ■ No
    Yes. Give specific
        information about them. ...                                                                                                                  $__________________


26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
   Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
   
   ■ No
    Yes. Give specific
        information about them. ...                                                                                                                  $__________________


27. Licenses, franchises, and other general intangibles
   Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

   
   ■ No
    Yes. Give specific
        information about them. ...                                                                                                                  $__________________


Money or property owed to you?                                                                                                                       Current value of the
                                                                                                                                                     portion you own?
                                                                                                                                                     Do not deduct secured
                                                                                                                                                     claims or exemptions.

28. Tax refunds owed to you

    No
   
   ■ Yes. Give specific information                         2016 anticipated income tax return
                                                                                                                           Federal:                        2,000.00
                                                                                                                                                 $_________________
               about them, including whether
               you already filed the returns                                                                               State:                $_________________
               and the tax years. .......................
                                                                                                                           Local:                $_________________


29. Family support
   Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
   
   ■ No
    Yes. Give specific information. .............
                                                                                                                          Alimony:                   $________________
                                                                                                                          Maintenance:               $________________
                                                                                                                          Support:                   $________________
                                                                                                                          Divorce settlement:        $________________
                                                                                                                          Property settlement:       $________________

30. Other amounts someone owes you
   Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
             Social Security benefits; unpaid loans you made to someone else
   
   ■ No
    Yes. Give specific information. ..............
                                                                                                                                                     $______________________



Official Form 106A/B                                                     Schedule A/B: Property                                                                page 7
               Case 17-10077-CMA                             Doc 1         Filed 01/09/17           Ent. 01/09/17 17:47:47                  Pg. 16 of 62
Debtor 1             Melissa Megan Skerritt
                    _______________________________________________________                                                                Case number (if known)_____________________________________
                    First Name           Middle Name                  Last Name




31. Interests in insurance policies
   Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
   
   ■ No
    Yes. Name the insurance company                                Company name:                                                             Beneficiary:                                       Surrender or refund value:
                of each policy and list its value. ...
                                                                    ___________________________________________ ____________________________                                                     $__________________
                                                                    ___________________________________________ ____________________________                                                     $__________________
                                                                    ___________________________________________ ____________________________                                                     $__________________

32. Any interest in property that is due you from someone who has died
   If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
   property because someone has died.
   
   ■ No
    Yes. Give specific information. .............
                                                                                                                                                                                                 $_____________________


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
   Examples: Accidents, employment disputes, insurance claims, or rights to sue
   
   ■ No
    Yes. Describe each claim. ....................
                                                                                                                                                                                                 $______________________

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
   to set off claims
   
   ■ No
    Yes. Describe each claim. ....................
                                                                                                                                                                                                 $_____________________




35. Any financial assets you did not already list

   
   ■ No
    Yes. Give specific information............                                                                                                                                                  $_____________________


36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
   for Part 4. Write that number here ....................................................................................................................................................                 4,174.00
                                                                                                                                                                                                 $_____________________




Part 5:         Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
   
   ■ No. Go to Part 6.
    Yes. Go to line 38.
                                                                                                                                                                                               Current value of the
                                                                                                                                                                                               portion you own?
                                                                                                                                                                                               Do not deduct secured claims
                                                                                                                                                                                               or exemptions.

38. Accounts receivable or commissions you already earned

 No
  Yes. Describe .......
                                                                                                                                                                                               $_____________________

39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

    No
    Yes. Describe .......                                                                                                                                                                     $_____________________



Official Form 106A/B                                                                 Schedule A/B: Property                                                                                                 page 8
                Case 17-10077-CMA                                     Doc 1              Filed 01/09/17                        Ent. 01/09/17 17:47:47                                   Pg. 17 of 62
Debtor 1             Melissa Megan Skerritt
                    _______________________________________________________                                                                Case number (if known)_____________________________________
                    First Name           Middle Name                  Last Name




40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

    No
    Yes. Describe .......                                                                                                                                                                     $_____________________


41. Inventory
    No
    Yes. Describe .......                                                                                                                                                                     $_____________________


42. Interests in partnerships or joint ventures

    No
    Yes. Describe .......             Name of entity:                                                                                                             % of ownership:
                                       ______________________________________________________________________                                                        0.0%
                                                                                                                                                                   ________%                   $_____________________
                                       ______________________________________________________________________                                                        0.0%
                                                                                                                                                                   ________%                   $_____________________
                                       ______________________________________________________________________                                                        0.0%
                                                                                                                                                                   ________%                   $_____________________


43. Customer lists, mailing lists, or other compilations
  No
 Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
         No
         Yes. Describe. .......
                                                                                                                                                                                                $____________________


44. Any business-related property you did not already list
    No
    Yes. Give specific                ______________________________________________________________________________________                                                                   $____________________
        information .........
                                       ______________________________________________________________________________________                                                                   $____________________
                                      ______________________________________________________________________________________                                                                   $____________________
                                      ______________________________________________________________________________________                                                                   $____________________
                                      ______________________________________________________________________________________                                                                   $____________________

                                       ______________________________________________________________________________________                                                                   $____________________

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
                                                                                                                                                                                                $____________________
   for Part 5. Write that number here .................................................................................................................................................... 




Part 6:         Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
   
   ■ No. Go to Part 7.
    Yes. Go to line 47.
                                                                                                                                                                                             Current value of the
                                                                                                                                                                                               portion you own?
                                                                                                                                                                                               Do not deduct secured claims
                                                                                                                                                                                               or exemptions.
47. Farm animals
   Examples: Livestock, poultry, farm-raised fish
    No
    Yes ..........................
                                                                                                                                                                                                 $___________________



Official Form 106A/B                                                                 Schedule A/B: Property                                                                                                 page 9
                Case 17-10077-CMA                                     Doc 1              Filed 01/09/17                        Ent. 01/09/17 17:47:47                                   Pg. 18 of 62
 Debtor 1              Melissa Megan Skerritt
                       _______________________________________________________                                                                   Case number (if known)_____________________________________
                       First Name           Middle Name                   Last Name




48. Crops—either growing or harvested

      No
      Yes. Give specific
           information. ............                                                                                                                                                                     $___________________

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
      No
      Yes ..........................
                                                                                                                                                                                                         $___________________

50. Farm and fishing supplies, chemicals, and feed

      No
      Yes ..........................
                                                                                                                                                                                                         $___________________

51. Any farm- and commercial fishing-related property you did not already list
 No
  Yes. Give specific
           information. ............                                                                                                                                                                     $___________________

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
                                                                                                                                                                                                         $___________________
     for Part 6. Write that number here .................................................................................................................................................... 



Part 7:            Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

     
     ■ No
                                                                                                                                                                                                          $________________
      Yes. Give specific
           information. ............                                                                                                                                                                      $________________
                                                                                                                                                                                                          $________________


54. Add the dollar value of all of your entries from Part 7. Write that number here .................................................................                                                    $________________




Part 8:            List the Totals of Each Part of this Form


55. Part 1: Total real estate, line 2 ..............................................................................................................................................................    $________________

56. Part 2: Total vehicles, line 5                                                                                      13,300.00
                                                                                                                  $________________

57. Part 3: Total personal and household items, line 15                                                                  1,499.00
                                                                                                                  $________________

58. Part 4: Total financial assets, line 36                                                                              4,174.00
                                                                                                                  $________________

59. Part 5: Total business-related property, line 45                                                              $________________

60. Part 6: Total farm- and fishing-related property, line 52                                                     $________________

61. Part 7: Total other property not listed, line 54                                                          + $________________
62. Total personal property. Add lines 56 through 61. ....................                                              18,973.00 Copy personal property total  + $_________________
                                                                                                                  $________________                                       18,973.00



63. Total of all property on Schedule A/B. Add line 55 + line 62. .........................................................................................                                                     18,973.00
                                                                                                                                                                                                         $_________________



 Official Form 106A/B                                                                     Schedule A/B: Property                                                                                                  page 10
                   Case 17-10077-CMA                                      Doc 1               Filed 01/09/17                         Ent. 01/09/17 17:47:47                                     Pg. 19 of 62
 Fill in this information to identify your case:

 Debtor 1            Melissa Megan Skerritt
                   __________________________________________________________________
                     First Name                 Middle Name               Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                 Middle Name               Last Name


                                          Western District of __________
 United States Bankruptcy Court for the: __________            Washington
 Case number
  (If known)
                     ___________________________________________                                                                           Check if this is an
                                                                                                                                              amended filing



Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                            12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


 Part 1:         Identify the Property You Claim as Exempt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
      You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
     
     ■ You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the property and line on          Current value of the    Amount of the exemption you claim        Specific laws that allow exemption
       Schedule A/B that lists this property                  portion you own
                                                              Copy the value from     Check only one box for each exemption.
                                                              Schedule A/B

      Brief                                                                                                                    ____________________________
      description:            2011 Suburu Forester
                             _________________________                12,800.00
                                                              $________________       ■
                                                                                       $ ____________
                                                                                                  0.00                         11 USC §522(d)(2)
                                                                                                                               ____________________________
      Line from                                                                        100% of fair market value, up to       ____________________________
                    3.1
      Schedule A/B: ______                                                               any applicable statutory limit       ____________________________


      Brief                                                                                                                    ____________________________
      description:            2002 Jeep Grand Cherokee Lr
                             _________________________                  500.00
                                                              $________________       
                                                                                      ■ $ ____________
                                                                                                   0.00                         11 USC §522(d)(5)
                                                                                                                               ____________________________
                                                                                       100% of fair market value, up to       ____________________________
      Line from     3.2
                    ______                                                                                                     ____________________________
      Schedule A/B:                                                                      any applicable statutory limit

      Brief                                                                                                                    ____________________________
      description:            Household goods/furnishings
                             _________________________                  200.00
                                                              $________________       ■ $ ____________
                                                                                                200.00                         11 USC §522(d)(3)
                                                                                                                               ____________________________
      Line from                                                                        100% of fair market value, up to       ____________________________
                    6
      Schedule A/B: ______                                                               any applicable statutory limit        ____________________________


 3. Are you claiming a homestead exemption of more than $155,675?
     (Subject to adjustment on 4/01/16 and every 3 years after that for cases filed on or after the date of adjustment.)

      No
     ■
      Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
        No
        Yes

Official Form 106C                                            Schedule C: The Property You Claim as Exempt                                                    2
                                                                                                                                                   page 1 of __
               Case 17-10077-CMA                       Doc 1        Filed 01/09/17           Ent. 01/09/17 17:47:47                Pg. 20 of 62
Debtor 1     Melissa Megan Skerritt
             _______________________________________________________                          Case number (if known)_____________________________________
             First Name        Middle Name      Last Name




 Part 2:    Additional Page

      Brief description of the property and line        Current value of the   Amount of the exemption you claim       Specific laws that allow exemption
      on Schedule A/B that lists this property          portion you own
                                                        Copy the value from    Check only one box for each exemption
                                                        Schedule A/B

     Brief                                                                                                             ____________________________
     description:         Electronics
                          _________________________               300.00
                                                        $________________      ■
                                                                                $ ____________
                                                                                         300.00                        11 USC §522(d)(3)
                                                                                                                       ____________________________
     Line from        7
                   ______
                                                                                100% of fair market value, up to      ____________________________
     Schedule A/B:                                                                any applicable statutory limit      ____________________________

     Brief                                                                                                             ____________________________
     description:          Collectibles of value
                          _________________________               400.00
                                                        $________________      ■
                                                                                $ ____________
                                                                                         100.00                        11 USC §522(d)(3)
                                                                                                                       ____________________________
     Line from                                                                  100% of fair market value, up to      ____________________________
                      8
                   ______                                                         any applicable statutory limit       ____________________________
     Schedule A/B:

     Brief                                                                                                             ____________________________
     description:          Clothes
                          _________________________               500.00
                                                        $________________      ■ $ ____________
                                                                                         500.00                        11 USC §522(d)(3)
                                                                                                                       ____________________________
     Line from                                                                  100% of fair market value, up to      ____________________________
                     11
                   ______                                                                                              ____________________________
     Schedule A/B:                                                                any applicable statutory limit

     Brief                                                                                                             ____________________________
     description:
                           FitBit
                          _________________________                99.00
                                                        $________________      ■ $ ____________
                                                                                          99.00                        11 USC §522(d)(4)
                                                                                                                       ____________________________
     Line from       12
                   ______
                                                                                100% of fair market value, up to      ____________________________
     Schedule A/B:                                                                any applicable statutory limit      ____________________________

     Brief                                                                                                             ____________________________
     description:         Dog and cats
                          _________________________     $________________
                                                                   25.00       
                                                                               ■ $ ____________
                                                                                           25.00                       11 USC §522(d)(3)
                                                                                                                       ____________________________
     Line from                                                                  100% of fair market value, up to      ____________________________
                   ______
                     13                                                           any applicable statutory limit       ____________________________
     Schedule A/B:

     Brief                                                                                                             ____________________________
     description:          Cash
                          _________________________                 0.00
                                                        $________________      ■ $ ____________
                                                                                           0.00                        11 USC §522(d)(5)
                                                                                                                       ____________________________
     Line from                                                                  100% of fair market value, up to      ____________________________
                     16
                   ______                                                         any applicable statutory limit       ____________________________
     Schedule A/B:

     Brief                                                                                                             ____________________________
     description:          Deposits of Money
                          _________________________     $________________      ■ $ ____________
                                                                                                                       11 USC §522(d)(5)
                                                                                                                       ____________________________
     Line from       17
                   ______
                                                                                100% of fair market value, up to      ____________________________
     Schedule A/B:                                                                any applicable statutory limit      ____________________________

     Brief                                                                                                             ____________________________
     description:          Security deposit
                          _________________________              1,000.00
                                                        $________________      ■ $ ____________
                                                                                      1,000.00                         11 USC §522(d)(5)
                                                                                                                       ____________________________
     Line from                                                                  100% of fair market value, up to      ____________________________
                     22                                                                                                ____________________________
     Schedule A/B: ______                                                         any applicable statutory limit


     Brief                                                                                                             ____________________________
     description:          Anticipated tax refund
                          _________________________              2,000.00
                                                        $________________      ■ $ ____________
                                                                                      2,000.00                         11 USC §522(d)(5)
                                                                                                                       ____________________________
     Line from                                                                  100% of fair market value, up to      ____________________________
                     26
                   ______                                                         any applicable statutory limit       ____________________________
     Schedule A/B:

     Brief                                                                                                             ____________________________
     description:
                          _________________________     $________________       $ ____________                        ____________________________
     Line from     ______
                                                                                100% of fair market value, up to      ____________________________
     Schedule A/B:                                                                any applicable statutory limit      ____________________________

     Brief                                                                                                             ____________________________
     description:
                          _________________________     $________________       $ ____________                        ____________________________
     Line from                                                                  100% of fair market value, up to      ____________________________
                                                                                                                       ____________________________
     Schedule A/B: ______                                                         any applicable statutory limit


     Brief                                                                                                             ____________________________
     description:
                          _________________________     $________________       $ ____________                        ____________________________
     Line from                                                                  100% of fair market value, up to      ____________________________
                   ______                                                         any applicable statutory limit       ____________________________
     Schedule A/B:


Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                             2 of __
                                                                                                                                         page ___    2
           Case 17-10077-CMA                    Doc 1         Filed 01/09/17          Ent. 01/09/17 17:47:47               Pg. 21 of 62
Fill in this information to identify your case:

 Debtor 1            Melissa Megan Skerritt
                   __________________________________________________________________
                     First Name                Middle Name                 Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                Middle Name                 Last Name


                                          Western District of __________
 United States Bankruptcy Court for the: __________            Washington

 Case number         ___________________________________________
 (If known)                                                                                                                                           Check if this is an
                                                                                                                                                         amended filing


Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?
       No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
      ■ Yes. Fill in all of the information below.
      

Part 1:        List All Secured Claims
                                                                                                                       Column A               Column B              Column C
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately                Amount of claim        Value of collateral   Unsecured
      for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2.            Do not deduct the      that supports this    portion
      As much as possible, list the claims in alphabetical order according to the creditor’s name.                     value of collateral.   claim                 If any

2.1                                                                                                                             17,966.00 $________________
                                                                                                                                                 11,800.00 $____________
                                                                                                                                                                6,166.00
      Inspirus Credit Union                             Describe the property that secures the claim:                  $_________________
      ______________________________________
      Creditor’s Name
                                                       2011 Suburu Forester
       3405 188th St SW
      ______________________________________
      Number            Street

                                                        As of the date you file, the claim is: Check all that apply.
      ______________________________________
                                                         Contingent
      Lynnwood              WA 98037
      ______________________________________             Unliquidated
      City                        State   ZIP Code       Disputed
  Who owes the debt? Check one.                         Nature of lien. Check all that apply.
   Debtor 1 only                                       ■
                                                         An agreement you made (such as mortgage or secured
   Debtor 2 only                                            car loan)
   Debtor 1 and Debtor 2 only                           Statutory lien (such as tax lien, mechanic’s lien)
  ■
   At least one of the debtors and another              Judgment lien from a lawsuit
                                                         Other (including a right to offset) ____________________
   Check if this claim relates to a
     community debt
  Date debt was incurred ____________                   Last 4 digits of account number ___ ___ ___ ___
2.2                                                                                                                              9,882.00 $________________
                                                                                                                                                      0.00 $____________
                                                                                                                                                                9,882.00
      Inspirus Credit Union                             Describe the property that secures the claim:                  $_________________
      ______________________________________
      Creditor’s Name
                                                       2011 Suburu Forester
      5200 Southcenter Blvd
      ______________________________________ Cross-Collateralized Line of Credit
      Number            Street

                                                        As of the date you file, the claim is: Check all that apply.
      ______________________________________
                                                         Contingent
      Seattle               WA 98188
      ______________________________________             Unliquidated
      City                        State   ZIP Code       Disputed
  Who owes the debt? Check one.                         Nature of lien. Check all that apply.
   Debtor 1 only                                       ■
                                                         An agreement you made (such as mortgage or secured
   Debtor 2 only                                            car loan)
   Debtor 1 and Debtor 2 only                           Statutory lien (such as tax lien, mechanic’s lien)
  ■
   At least one of the debtors and another              Judgment lien from a lawsuit
                                                         Other (including a right to offset) ____________________
   Check if this claim relates to a
     community debt
  Date debt was incurred ____________                   Last 4 digits of account number ___ ___ ___ ___
      Add the dollar value of your entries in Column A on this page. Write that number here:                                27,848.00
                                                                                                                       $________________


Official Form
            Case
              106D 17-10077-CMA    Doc
                              Schedule D: 1   Filed
                                          Creditors   01/09/17
                                                    Who             Ent. 01/09/17
                                                        Have Claims Secured by Property17:47:47                                               Pg. 22 ofpage      2
                                                                                                                                                        62 1 of ___
 Debtor 1          _______________________________________________________                             Case number (if known)_____________________________________
                   First Name    Middle Name        Last Name




               Additional Page                                                                                     Column A               Column B              Column C
Part 1:                                                                                                            Amount of claim        Value of collateral   Unsecured
               After listing any entries on this page, number them beginning with 2.3, followed                                           that supports this    portion
                                                                                                                   Do not deduct the
               by 2.4, and so forth.                                                                               value of collateral.   claim                 If any
2.3
      OneMain Financial
      ______________________________________        Describe the property that secures the claim:                          3,518.00 $________________
                                                                                                                   $_________________        500.00 $____________
                                                                                                                                                       3,018.00
      Creditor’s Name
      6801 Colwell Blvd
      ______________________________________ 2002 Jeep Grand Cherokee Laredo
      Number            Street

      ______________________________________        As of the date you file, the claim is: Check all that apply.
      Irving                     TX      75039
      ______________________________________         Contingent
      City                       State   ZIP Code    Unliquidated
                                                     Disputed
  Who owes the debt? Check one.                     Nature of lien. Check all that apply.
  ■ Debtor 1 only
                                                   ■ An agreement you made (such as mortgage or secured
                                                    
   Debtor 2 only                                        car loan)
   Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic’s lien)
   At least one of the debtors and another          Judgment lien from a lawsuit
                                                     Other (including a right to offset) ____________________
   Check if this claim relates to a
        community debt

  Date debt was incurred ____________               Last 4 digits of account number ___ ___ ___ ___

2.4
      ______________________________________        Describe the property that secures the claim:                  $_________________ $________________ $____________
      Creditor’s Name

      ______________________________________
      Number            Street

                                                    As of the date you file, the claim is: Check all that apply.
      ______________________________________
                                                     Contingent
      ______________________________________         Unliquidated
      City                       State   ZIP Code
                                                     Disputed
  Who owes the debt? Check one.
                                                    Nature of lien. Check all that apply.
   Debtor 1 only                                    An agreement you made (such as mortgage or secured
   Debtor 2 only                                        car loan)
   Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic’s lien)
   At least one of the debtors and another          Judgment lien from a lawsuit
   Check if this claim relates to a                 Other (including a right to offset) ____________________
        community debt

  Date debt was incurred ____________               Last 4 digits of account number ___ ___ ___ ___


      ______________________________________        Describe the property that secures the claim:                  $_________________ $________________ $____________
      Creditor’s Name

      ______________________________________
      Number            Street

      ______________________________________        As of the date you file, the claim is: Check all that apply.
      ______________________________________         Contingent
      City                       State   ZIP Code    Unliquidated
                                                     Disputed
  Who owes the debt? Check one.                     Nature of lien. Check all that apply.
   Debtor 1 only                                    An agreement you made (such as mortgage or secured
   Debtor 2 only                                        car loan)
   Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic’s lien)
   At least one of the debtors and another          Judgment lien from a lawsuit
                                                     Other (including a right to offset) ____________________
   Check if this claim relates to a
        community debt
  Date debt was incurred ____________               Last 4 digits of account number ___ ___ ___ ___

                                                                                                            3,518.00
             Add the dollar value of your entries in Column A on this page. Write that number here: $_________________
             If this is the last page of your form, add the dollar value totals from all pages.
             Write that number here:
                                                                                                                         31,366.00
                                                                                                                   $_________________

 Official Form 106D 17-10077-CMA
             Case                        Doc
                           Additional Page     1 Filed
                                           of Schedule      01/09/17
                                                       D: Creditors       Ent.
                                                                    Who Have     01/09/17
                                                                             Claims         17:47:47
                                                                                    Secured by Property                                   Pg. 23 ofpage
                                                                                                                                                    62 ___    2
                                                                                                                                                        2 of ___
Debtor 1       Melissa Megan Skerritt
               _______________________________________________________                          Case number (if known)_____________________________________
               First Name    Middle Name        Last Name


  Part 2:      List Others to Be Notified for a Debt That You Already Listed

  Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection
  agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if
  you have more than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to
  be notified for any debts in Part 1, do not fill out or submit this page.

3.4                                                                                                                                             2.2
                                                                                           On which line in Part 1 did you enter the creditor? _____
       OneMain Financial
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number ___ ___ ___ ___
       6801 Colwell Blvd
      _____________________________________________________________________
      Number        Street

      _____________________________________________________________________

       Irving                                 TX            75063
      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                                                                                2.2
                                                                                           On which line in Part 1 did you enter the creditor? _____
      OneMain Financial
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number ___ ___ ___ ___
      PO Box 499
      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________

      Hanover                                 MD            21076
      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number ___ ___ ___ ___

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number ___ ___ ___ ___

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number ___ ___ ___ ___

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number ___ ___ ___ ___

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code



Official Form 106D 17-10077-CMA
            Case              Part 2 Doc   1 Filed
                                     of Schedule       01/09/17
                                                 D: Creditors Who HaveEnt. 01/09/17
                                                                      Claims Secured by17:47:47
                                                                                       Property                                Pg. 24 ofpage 2 of ___
                                                                                                                                         62 ___
  Fill in this information to identify your case:

      Debtor 1           Melissa Megan Skerritt
                        __________________________________________________________________
                          First Name             Middle Name              Last Name

      Debtor 2            ________________________________________________________________
      (Spouse, if filing) First Name             Middle Name              Last Name


                                               Western District of __________
      United States Bankruptcy Court for the: __________           Washington

      Case number         ___________________________________________
                                                                                                                                                  Check if this is an
      (If known)                                                                                                                                     amended filing


 Official Form 106E/F
 Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                             12/15

 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
 List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
 A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
 creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is
 needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
 any additional pages, write your name and case number (if known).

 Part 1:            List All of Your PRIORITY Unsecured Claims

 1. Do any creditors have priority unsecured claims against you?
         
         ■ No. Go to Part 2.
          Yes.
 2.     List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
        each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
        nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority
        unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
         (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                 Total claim    Priority     Nonpriority
                                                                                                                                                amount       amount
2.1
           ____________________________________________          Last 4 digits of account number ___ ___ ___ ___            $_____________ $___________ $____________
           Priority Creditor’s Name

           ____________________________________________          When was the debt incurred?         ____________
           Number            Street
           ____________________________________________
                                                                 As of the date you file, the claim is: Check all that apply.
           ____________________________________________
           City                          State    ZIP Code
                                                                  Contingent
                                                                  Unliquidated
           Who incurred the debt? Check one.
                                                                  Disputed
            Debtor 1 only
            Debtor 2 only                                       Type of PRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only                           Domestic support obligations
            At least one of the debtors and another              Taxes and certain other debts you owe the government
            Check if this claim is for a community debt          Claims for death or personal injury while you were
           Is the claim subject to offset?                           intoxicated
            No                                                   Other. Specify _________________________________
            Yes
2.2
           ____________________________________________          Last 4 digits of account number ___ ___ ___ ___                $_____________ $___________ $____________
           Priority Creditor’s Name
                                                                 When was the debt incurred?         ____________
           ____________________________________________
           Number            Street
           ____________________________________________          As of the date you file, the claim is: Check all that apply.

           ____________________________________________
                                                                  Contingent
           City                          State    ZIP Code        Unliquidated
           Who incurred the debt? Check one.                      Disputed
            Debtor 1 only                                       Type of PRIORITY unsecured claim:
            Debtor 2 only
                                                                  Domestic support obligations
            Debtor 1 and Debtor 2 only
            At least one of the debtors and another              Taxes and certain other debts you owe the government
                                                                  Claims for death or personal injury while you were
            Check if this claim is for a community debt             intoxicated
           Is the claim subject to offset?                        Other. Specify _________________________________
            No
            Yes

             Case
 Official Form 106E/F17-10077-CMA                       Doc  1 E/F:
                                                         Schedule Filed 01/09/17
                                                                     Creditors Who HaveEnt. 01/09/17
                                                                                        Unsecured Claims 17:47:47                          Pg. 25 ofpage
                                                                                                                                                     62 1 of ___
 Debtor 1        Melissa Megan Skerritt
                 _______________________________________________________                             Case number (if known)_____________________________________
                 First Name          Middle Name      Last Name


 Part 2:        List All of Your NONPRIORITY Unsecured Claims

 3. Do any creditors have nonpriority unsecured claims against you?
       No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      
      ■ Yes
 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
      nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
      included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
      claims fill out the Continuation Page of Part 2.

                                                                                                                                                         Total claim

       Audit & Adjustment
4.1
       _____________________________________________________________                                              1 ___
                                                                                 Last 4 digits of account number ___ 5 ___
                                                                                                                        3 ___
                                                                                                                           1
       Nonpriority Creditor’s Name
                                                                                                                                                                   27.96
                                                                                                                                                       $__________________
                                                                                 When was the debt incurred?            ____________
       _____________________________________________________________
       Number          Street
                                          WA         98046
       _____________________________________________________________
       City                                        State          ZIP Code       As of the date you file, the claim is: Check all that apply.

                                                                                  Contingent
       Who incurred the debt? Check one.                                          Unliquidated
       ■
        Debtor 1 only                                                            Disputed
        Debtor 2 only
        Debtor 1 and Debtor 2 only                                              Type of NONPRIORITY unsecured claim:
        At least one of the debtors and another                                  Student loans
        Check if this claim is for a community debt                              Obligations arising out of a separation agreement or divorce
                                                                                     that you did not report as priority claims
       Is the claim subject to offset?                                            Debts to pension or profit-sharing plans, and other similar debts
       ■
        No                                                                                       Collecting for Swedish Medical Group
                                                                                 ■ Other. Specify ______________________________________
                                                                                 
        Yes
                                                                                                                  3 ___
                                                                                                                     9 ___
                                                                                                                        7 ___
                                                                                                                           5                                      699.21
4.2
        Automated Accounts
       _____________________________________________________________
                                                                                 Last 4 digits of account number ___                                   $__________________
       Nonpriority Creditor’s Name                                               When was the debt incurred?            ____________
       430 W Sharp Ave
       _____________________________________________________________
       Number          Street
        Spokane                           WA         99201-2421
       _____________________________________________________________
                                                                                 As of the date you file, the claim is: Check all that apply.
       City                                        State          ZIP Code
                                                                                  Contingent
       Who incurred the debt? Check one.                                          Unliquidated
       ■
        Debtor 1 only                                                            Disputed
        Debtor 2 only
                                                                                 Type of NONPRIORITY unsecured claim:
        Debtor 1 and Debtor 2 only
        At least one of the debtors and another                                  Student loans
                                                                                  Obligations arising out of a separation agreement or divorce
        Check if this claim is for a community debt                                 that you did not report as priority claims
       Is the claim subject to offset?                                            Debts to pension or profit-sharing plans, and other similar debts
       ■
        No                                                                      ■ Other. Specify ______________________________________
                                                                                                 Collecting for Valley Gastroenterology
        Yes
        Bainbridge Island Ambulance
4.3
       _____________________________________________________________                                              9 ___
                                                                                 Last 4 digits of account number ___ 1 ___
                                                                                                                        0 ___
                                                                                                                           2                                       36.40
       Nonpriority Creditor’s Name                                                                                                                     $_________________
                                                                                 When was the debt incurred?            ____________
       PO Box 3510
       _____________________________________________________________
       Number          Street
        Sillverdale                       WA         98383-3510
       _____________________________________________________________             As of the date you file, the claim is: Check all that apply.
       City                                        State          ZIP Code

                                                                                  Contingent
       Who incurred the debt? Check one.
                                                                                  Unliquidated
       ■ Debtor 1 only
                                                                                 Disputed
        Debtor 2 only
        Debtor 1 and Debtor 2 only                                              Type of NONPRIORITY unsecured claim:
        At least one of the debtors and another
                                                                                  Student loans
        Check if this claim is for a community debt                              Obligations arising out of a separation agreement or divorce
                                                                                     that you did not report as priority claims
       Is the claim subject to offset?
                                                                                  Debts to pension or profit-sharing plans, and other similar debts
       ■ No
       
                                                                                 ■ Other. Specify ______________________________________
                                                                                                 Medical services
        Yes


Official FormCase
             106E/F 17-10077-CMA                      Doc  1 E/F:
                                                       Schedule Filed 01/09/17
                                                                   Creditors Who HaveEnt. 01/09/17
                                                                                      Unsecured Claims 17:47:47                                          2 of ___
                                                                                                                                       Pg. 26 of 62 page __
Debtor 1         Melissa Megan Skerritt
                _______________________________________________________                       Case number (if known)_____________________________________
                First Name          Middle Name      Last Name



 Part 2:       Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                            Total claim


4.4
                                                                             Last 4 digits of account number ___ ___ ___ ___
      Capital One Bank
      _____________________________________________________________                                                                                       769.00
                                                                                                                                                   $____________
      Nonpriority Creditor’s Name
                                                                             When was the debt incurred?            Aug 2015
                                                                                                                    ____________
      PO Box 30181
      _____________________________________________________________
      Number          Street
                                                                             As of the date you file, the claim is: Check all that apply.
       Salt Lake City                    UT         84130
      _____________________________________________________________
      City                                        State          ZIP Code     Contingent
                                                                              Unliquidated
      Who incurred the debt? Check one.                                       Disputed
      ■ Debtor 1 only
      
       Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
       Debtor 1 and Debtor 2 only                                            Student loans
       At least one of the debtors and another                               Obligations arising out of a separation agreement or divorce that
                                                                                 you did not report as priority claims
       Check if this claim is for a community debt
                                                                              Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                        ■
                                                                              Other. Specify________________________________
                                                                                             Consumer goods and services by credit card
      ■ No
      
       Yes

4.5
                                                                             Last 4 digits of account number ___ ___ ___ ___                            3,549.00
       Capital One Bank
      _____________________________________________________________
                                                                                                                                                   $____________
      Nonpriority Creditor’s Name
                                                                             When was the debt incurred?            Aug 2011
                                                                                                                    ____________
       PO Box 30185
      _____________________________________________________________
      Number          Street
                                                                             As of the date you file, the claim is: Check all that apply.
       Salt Lake City                    UT         84130
      _____________________________________________________________
      City                                        State          ZIP Code     Contingent
                                                                              Unliquidated
      Who incurred the debt? Check one.                                       Disputed
      ■ Debtor 1 only
      
       Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
       Debtor 1 and Debtor 2 only                                            Student loans
       At least one of the debtors and another                               Obligations arising out of a separation agreement or divorce that
                                                                                 you did not report as priority claims
       Check if this claim is for a community debt
                                                                              Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                        ■ Other. Specify________________________________
                                                                                             Consumer goods and services by credit card
      ■ No
      
       Yes

4.6                                                                                                                                                      185.00
                                                                                                                                                   $____________
                                                                             Last 4 digits of account number ___ ___ ___ ___
      CBS Collections
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                             When was the debt incurred?            ____________
      521 W Maxwell Ave
      _____________________________________________________________
      Number          Street
                                                                             As of the date you file, the claim is: Check all that apply.
      Spokane                            WA         99201-2417
      _____________________________________________________________
      City                                        State          ZIP Code     Contingent
                                                                              Unliquidated
      Who incurred the debt? Check one.                                       Disputed
      ■ Debtor 1 only
      
       Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
       Debtor 1 and Debtor 2 only                                            Student loans
       At least one of the debtors and another                               Obligations arising out of a separation agreement or divorce that
                                                                                 you did not report as priority claims
       Check if this claim is for a community debt
                                                                              Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                        ■
                                                                              Other. Specify________________________________
                                                                                             Assigned by Rockwood Clinic
      ■
       No
       Yes



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                                                      Schedule Filed 01/09/17
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                                                                                     Unsecured Claims 17:47:47                                    3 of ___
                                                                                                                                Pg. 27 of 62 page __   12
Debtor 1         Melissa Megan Skerritt
                _______________________________________________________                       Case number (if known)_____________________________________
                First Name          Middle Name      Last Name



 Part 2:       Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                            Total claim


4.7
                                                                             Last 4 digits of account number ___ ___ ___ ___
      Comenity/Lane Bryant
      _____________________________________________________________                                                                                         0.00
                                                                                                                                                   $____________
      Nonpriority Creditor’s Name
                                                                             When was the debt incurred?            Feb 2014
                                                                                                                    ____________
      PO Box 182782
      _____________________________________________________________
      Number          Street
                                                                             As of the date you file, the claim is: Check all that apply.
       Columbus                          OH         43218-2782
      _____________________________________________________________
      City                                        State          ZIP Code     Contingent
                                                                              Unliquidated
      Who incurred the debt? Check one.                                       Disputed
      ■ Debtor 1 only
      
       Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
       Debtor 1 and Debtor 2 only                                            Student loans
       At least one of the debtors and another                               Obligations arising out of a separation agreement or divorce that
                                                                                 you did not report as priority claims
       Check if this claim is for a community debt
                                                                              Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                        ■
                                                                              Other. Specify________________________________
                                                                                             Consumer goods and services by credit card
      ■ No
      
       Yes

4.8
                                                                             Last 4 digits of account number ___ ___ ___ ___                            1,878.00
       Credit One Bank
      _____________________________________________________________
                                                                                                                                                   $____________
      Nonpriority Creditor’s Name
                                                                             When was the debt incurred?            Aug 2012
                                                                                                                    ____________
       PO Box 98873
      _____________________________________________________________
      Number          Street
                                                                             As of the date you file, the claim is: Check all that apply.
       Las Vegas                         NV         89193
      _____________________________________________________________
      City                                        State          ZIP Code     Contingent
                                                                              Unliquidated
      Who incurred the debt? Check one.                                       Disputed
      ■ Debtor 1 only
      
       Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
       Debtor 1 and Debtor 2 only                                            Student loans
       At least one of the debtors and another                               Obligations arising out of a separation agreement or divorce that
                                                                                 you did not report as priority claims
       Check if this claim is for a community debt
                                                                              Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                        ■ Other. Specify________________________________
                                                                                             Consumer goods and services by credit card
      ■ No
      
       Yes

4.9                                                                                                                                                     1,767.00
                                                                                                                                                   $____________
                                                                             Last 4 digits of account number ___ ___ ___ ___
      Fingerhut/WebBank
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                             When was the debt incurred?            Aug 2008
                                                                                                                    ____________
      6250 Ridgewood Rd
      _____________________________________________________________
      Number          Street
                                                                             As of the date you file, the claim is: Check all that apply.
      St Cloud                           MN         56303
      _____________________________________________________________
      City                                        State          ZIP Code     Contingent
                                                                              Unliquidated
      Who incurred the debt? Check one.                                       Disputed
      ■ Debtor 1 only
      
       Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
       Debtor 1 and Debtor 2 only                                            Student loans
       At least one of the debtors and another                               Obligations arising out of a separation agreement or divorce that
                                                                                 you did not report as priority claims
       Check if this claim is for a community debt
                                                                              Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                        ■
                                                                              Other. Specify________________________________
                                                                                             Consumer goods and services by credit card
      ■
       No
       Yes



Official FormCase
             106E/F 17-10077-CMA                     Doc  1 E/F:
                                                      Schedule Filed 01/09/17
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                                                                                     Unsecured Claims 17:47:47                                    4 of ___
                                                                                                                                Pg. 28 of 62 page __   12
Debtor 1          Melissa Megan Skerritt
                 _______________________________________________________                       Case number (if known)_____________________________________
                 First Name          Middle Name      Last Name



 Part 2:        Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                             Total claim


4.10
                                                                              Last 4 digits of account number ___ ___ ___ ___
       First Premier Bank
       _____________________________________________________________                                                                                       631.00
                                                                                                                                                    $____________
       Nonpriority Creditor’s Name
                                                                              When was the debt incurred?            Oct 2016
                                                                                                                     ____________
       3820 N Louise Ave
       _____________________________________________________________
       Number          Street
                                                                              As of the date you file, the claim is: Check all that apply.
        Sioux Falls                       SD         57107-0145
       _____________________________________________________________
       City                                        State          ZIP Code     Contingent
                                                                               Unliquidated
       Who incurred the debt? Check one.                                       Disputed
       ■ Debtor 1 only
       
        Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
        Debtor 1 and Debtor 2 only                                            Student loans
        At least one of the debtors and another                               Obligations arising out of a separation agreement or divorce that
                                                                                  you did not report as priority claims
        Check if this claim is for a community debt
                                                                               Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                        ■
                                                                               Other. Specify________________________________
                                                                                              Consumer goods and services by credit card
       ■ No
       
        Yes

4.11
                                                                              Last 4 digits of account number ___ ___ ___ ___                             796.00
        First Premier Bank
       _____________________________________________________________
                                                                                                                                                    $____________
       Nonpriority Creditor’s Name
                                                                              When was the debt incurred?            Apr 2008
                                                                                                                     ____________
        PO Box 5524
       _____________________________________________________________
       Number          Street
                                                                              As of the date you file, the claim is: Check all that apply.
        Sioux Falls                       SD         57117-5524
       _____________________________________________________________
       City                                        State          ZIP Code     Contingent
                                                                               Unliquidated
       Who incurred the debt? Check one.                                       Disputed
       ■ Debtor 1 only
       
        Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
        Debtor 1 and Debtor 2 only                                            Student loans
        At least one of the debtors and another                               Obligations arising out of a separation agreement or divorce that
                                                                                  you did not report as priority claims
        Check if this claim is for a community debt
                                                                               Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                        ■ Other. Specify________________________________
                                                                                              Consumer goods and services by credit card
       ■ No
       
        Yes

4.12
                                                                                                                                                    $____________
                                                                              Last 4 digits of account number ___ ___ ___ ___
       /// Left Intentionally Blank ///
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                              When was the debt incurred?            ____________
       _____________________________________________________________
       Number          Street
                                                                              As of the date you file, the claim is: Check all that apply.
       _____________________________________________________________
       City                                        State          ZIP Code     Contingent
                                                                               Unliquidated
       Who incurred the debt? Check one.                                       Disputed
        Debtor 1 only
        Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
        Debtor 1 and Debtor 2 only                                            Student loans
        At least one of the debtors and another                               Obligations arising out of a separation agreement or divorce that
                                                                                  you did not report as priority claims
        Check if this claim is for a community debt
                                                                               Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                         Other. Specify________________________________
        No
        Yes



Official FormCase
             106E/F 17-10077-CMA                      Doc  1 E/F:
                                                       Schedule Filed 01/09/17
                                                                   Creditors Who HaveEnt. 01/09/17
                                                                                      Unsecured Claims 17:47:47                                    5 of ___
                                                                                                                                 Pg. 29 of 62 page __   12
Debtor 1          Melissa Megan Skerritt
                 _______________________________________________________                       Case number (if known)_____________________________________
                 First Name          Middle Name      Last Name



 Part 2:        Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                             Total claim


4.13
                                                                                                               1 ___
                                                                              Last 4 digits of account number ___ 0 ___
                                                                                                                     3 ___
                                                                                                                        9
       Integris
       _____________________________________________________________                                                                                        24.50
                                                                                                                                                    $____________
       Nonpriority Creditor’s Name
                                                                              When was the debt incurred?            ____________
       PO Box 108801
       _____________________________________________________________
       Number          Street
                                                                              As of the date you file, the claim is: Check all that apply.
        Oklahoma City                     OK         73101-8801
       _____________________________________________________________
       City                                        State          ZIP Code     Contingent
                                                                               Unliquidated
       Who incurred the debt? Check one.                                       Disputed
       ■ Debtor 1 only
       
        Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
        Debtor 1 and Debtor 2 only                                            Student loans
        At least one of the debtors and another                               Obligations arising out of a separation agreement or divorce that
                                                                                  you did not report as priority claims
        Check if this claim is for a community debt
                                                                               Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                        ■
                                                                               Other. Specify________________________________
                                                                                              Medical services
       ■ No
       
        Yes

4.14
                                                                              Last 4 digits of account number ___ ___ ___ ___                             128.80
        Kitsap Physical Therapy and Sports Clinic
       _____________________________________________________________
                                                                                                                                                    $____________
       Nonpriority Creditor’s Name
                                                                              When was the debt incurred?            ____________
        19319 7th Ave Ste 100
       _____________________________________________________________
       Number          Street
                                                                              As of the date you file, the claim is: Check all that apply.
        Poulsbo                           WA         98370
       _____________________________________________________________
       City                                        State          ZIP Code     Contingent
                                                                               Unliquidated
       Who incurred the debt? Check one.                                       Disputed
       ■ Debtor 1 only
       
        Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
        Debtor 1 and Debtor 2 only                                            Student loans
        At least one of the debtors and another                               Obligations arising out of a separation agreement or divorce that
                                                                                  you did not report as priority claims
        Check if this claim is for a community debt
                                                                               Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                        ■ Other. Specify________________________________
                                                                                              Medical services
       ■ No
       
        Yes

4.15                                                                                                                                                         0.00
                                                                                                                                                    $____________
                                                                              Last 4 digits of account number ___ ___ ___ ___
       Kohls/Capital One
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                              When was the debt incurred?            Feb 2015
                                                                                                                     ____________
       PO Box 3115
       _____________________________________________________________
       Number          Street
                                                                              As of the date you file, the claim is: Check all that apply.
       Milwaukie                          WI         53201
       _____________________________________________________________
       City                                        State          ZIP Code     Contingent
                                                                               Unliquidated
       Who incurred the debt? Check one.                                       Disputed
       ■ Debtor 1 only
       
        Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
        Debtor 1 and Debtor 2 only                                            Student loans
        At least one of the debtors and another                               Obligations arising out of a separation agreement or divorce that
                                                                                  you did not report as priority claims
        Check if this claim is for a community debt
                                                                               Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                        ■
                                                                               Other. Specify________________________________
                                                                                              Consumer goods and services by credit card
       ■
        No
        Yes



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                                                                                                                                 Pg. 30 of 62 page __   12
Debtor 1          Melissa Megan Skerritt
                 _______________________________________________________                       Case number (if known)_____________________________________
                 First Name          Middle Name      Last Name



 Part 2:        Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                             Total claim


4.16
                                                                              Last 4 digits of account number ___ ___ ___ ___
       Merchants Credit
       _____________________________________________________________                                                                                       397.00
                                                                                                                                                    $____________
       Nonpriority Creditor’s Name
                                                                              When was the debt incurred?            ____________
       PO Box 7416
       _____________________________________________________________
       Number          Street
                                                                              As of the date you file, the claim is: Check all that apply.
        Bellevue                          WA         98008-1416
       _____________________________________________________________
       City                                        State          ZIP Code     Contingent
                                                                               Unliquidated
       Who incurred the debt? Check one.                                      ■
                                                                               Disputed
       ■ Debtor 1 only
       
        Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
        Debtor 1 and Debtor 2 only                                            Student loans
        At least one of the debtors and another                               Obligations arising out of a separation agreement or divorce that
                                                                                  you did not report as priority claims
        Check if this claim is for a community debt
                                                                               Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                        ■
                                                                               Other. Specify________________________________
                                                                                              Assigned by Virginia Mason
       ■ No
       
        Yes

4.17
                                                                              Last 4 digits of account number ___ ___ ___ ___                            1,981.00
        Merrick Bank
       _____________________________________________________________
                                                                                                                                                    $____________
       Nonpriority Creditor’s Name
                                                                              When was the debt incurred?            Jul 2012
                                                                                                                     ____________
        PO Box 9201
       _____________________________________________________________
       Number          Street
                                                                              As of the date you file, the claim is: Check all that apply.
        Old Bethpage                      NY         11804
       _____________________________________________________________
       City                                        State          ZIP Code     Contingent
                                                                               Unliquidated
       Who incurred the debt? Check one.                                       Disputed
       ■ Debtor 1 only
       
        Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
        Debtor 1 and Debtor 2 only                                            Student loans
        At least one of the debtors and another                               Obligations arising out of a separation agreement or divorce that
                                                                                  you did not report as priority claims
        Check if this claim is for a community debt
                                                                               Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                        ■ Other. Specify________________________________
                                                                                              Consumer goods and services by credit card
       ■ No
       
        Yes

4.18                                                                                                                                                      446.00
                                                                                                                                                    $____________
                                                                              Last 4 digits of account number ___ ___ ___ ___
       Puget Sound Collections
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                              When was the debt incurred?            ____________
       PO Box 66995
       _____________________________________________________________
       Number          Street
                                                                              As of the date you file, the claim is: Check all that apply.
       Tacoma                             WA         98464
       _____________________________________________________________
       City                                        State          ZIP Code     Contingent
                                                                               Unliquidated
       Who incurred the debt? Check one.                                       Disputed
       ■ Debtor 1 only
       
        Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
        Debtor 1 and Debtor 2 only                                            Student loans
        At least one of the debtors and another                               Obligations arising out of a separation agreement or divorce that
                                                                                  you did not report as priority claims
        Check if this claim is for a community debt
                                                                               Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                        ■
                                                                               Other. Specify________________________________
                                                                                              Assigned by Harrison Medical Center
       ■
        No
        Yes



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Debtor 1          Melissa Megan Skerritt
                 _______________________________________________________                       Case number (if known)_____________________________________
                 First Name          Middle Name      Last Name



 Part 2:        Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                             Total claim


4.19
                                                                              Last 4 digits of account number ___ ___ ___ ___
       State Collection Service
       _____________________________________________________________                                                                                       483.00
                                                                                                                                                    $____________
       Nonpriority Creditor’s Name
                                                                              When was the debt incurred?            ____________
       PO Box 6250
       _____________________________________________________________
       Number          Street
                                                                              As of the date you file, the claim is: Check all that apply.
        Madison                           WI         53701
       _____________________________________________________________
       City                                        State          ZIP Code     Contingent
                                                                               Unliquidated
       Who incurred the debt? Check one.                                       Disputed
       ■ Debtor 1 only
       
        Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
        Debtor 1 and Debtor 2 only                                            Student loans
        At least one of the debtors and another                               Obligations arising out of a separation agreement or divorce that
                                                                                  you did not report as priority claims
        Check if this claim is for a community debt
                                                                               Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                        ■
                                                                               Other. Specify________________________________
                                                                                              Assigned by Multicare Health System
       ■ No
       
        Yes

4.20
                                                                              Last 4 digits of account number ___ ___ ___ ___                             575.00
        Swedish -Cherry Hill
       _____________________________________________________________
                                                                                                                                                    $____________
       Nonpriority Creditor’s Name
                                                                              When was the debt incurred?            ____________
        MS 23362674 // PO Box 660064
       _____________________________________________________________
       Number          Street
                                                                              As of the date you file, the claim is: Check all that apply.
        Dallas                            TX         75266-0064
       _____________________________________________________________
       City                                        State          ZIP Code     Contingent
                                                                               Unliquidated
       Who incurred the debt? Check one.                                       Disputed
       ■ Debtor 1 only
       
        Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
        Debtor 1 and Debtor 2 only                                            Student loans
        At least one of the debtors and another                               Obligations arising out of a separation agreement or divorce that
                                                                                  you did not report as priority claims
        Check if this claim is for a community debt
                                                                               Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                        ■ Other. Specify________________________________
                                                                                              Medical services
       ■ No
       
        Yes

4.21                                                                                                                                                        68.00
                                                                                                                                                    $____________
                                                                              Last 4 digits of account number ___ ___ ___ ___
       SyncBank/Amazon
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                              When was the debt incurred?            Jul 2013
                                                                                                                     ____________
       PO Box 965015
       _____________________________________________________________
       Number          Street
                                                                              As of the date you file, the claim is: Check all that apply.
       Orlando                            FL         32896-5015
       _____________________________________________________________
       City                                        State          ZIP Code     Contingent
                                                                               Unliquidated
       Who incurred the debt? Check one.                                       Disputed
       ■ Debtor 1 only
       
        Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
        Debtor 1 and Debtor 2 only                                            Student loans
        At least one of the debtors and another                               Obligations arising out of a separation agreement or divorce that
                                                                                  you did not report as priority claims
        Check if this claim is for a community debt
                                                                               Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                        ■
                                                                               Other. Specify________________________________
                                                                                              Consumer goods and services by credit card
       ■
        No
        Yes



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Debtor 1          Melissa Megan Skerritt
                 _______________________________________________________                       Case number (if known)_____________________________________
                 First Name          Middle Name      Last Name



 Part 2:        Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                             Total claim


4.22
                                                                              Last 4 digits of account number ___ ___ ___ ___
       SyncBank/PayPal
       _____________________________________________________________                                                                                       379.00
                                                                                                                                                    $____________
       Nonpriority Creditor’s Name
                                                                              When was the debt incurred?            May 2016
                                                                                                                     ____________
       PO Box 965005
       _____________________________________________________________
       Number          Street
                                                                              As of the date you file, the claim is: Check all that apply.
        Orlando                           FL         32896
       _____________________________________________________________
       City                                        State          ZIP Code     Contingent
                                                                               Unliquidated
       Who incurred the debt? Check one.                                       Disputed
       ■ Debtor 1 only
       
        Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
        Debtor 1 and Debtor 2 only                                            Student loans
        At least one of the debtors and another                               Obligations arising out of a separation agreement or divorce that
                                                                                  you did not report as priority claims
        Check if this claim is for a community debt
                                                                               Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                        ■
                                                                               Other. Specify________________________________
                                                                                              Consumer goods and services by credit card
       ■ No
       
        Yes

4.23
                                                                              Last 4 digits of account number ___ ___ ___ ___                               78.00
        Transworld Systems
       _____________________________________________________________
                                                                                                                                                    $____________
       Nonpriority Creditor’s Name
                                                                              When was the debt incurred?            ____________
        PO Box 15270
       _____________________________________________________________
       Number          Street
                                                                              As of the date you file, the claim is: Check all that apply.
        Wilmington                        DE         19850
       _____________________________________________________________
       City                                        State          ZIP Code     Contingent
                                                                               Unliquidated
       Who incurred the debt? Check one.                                       Disputed
       ■ Debtor 1 only
       
        Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
        Debtor 1 and Debtor 2 only                                            Student loans
        At least one of the debtors and another                               Obligations arising out of a separation agreement or divorce that
                                                                                  you did not report as priority claims
        Check if this claim is for a community debt
                                                                               Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                        ■ Other. Specify________________________________
                                                                                              Assigned by Univ of Wash Med Center
       ■ No
       
        Yes

4.24                                                                                                                                                      236.02
                                                                                                                                                    $____________
                                                                                                               1 ___
                                                                              Last 4 digits of account number ___ 7 ___
                                                                                                                     5 ___
                                                                                                                        8
       UHS Pacific Region CBO
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                              When was the debt incurred?            ____________
       38977 Sky Canyon Dr Ste 200
       _____________________________________________________________
       Number          Street
                                                                              As of the date you file, the claim is: Check all that apply.
       Murrieta                           CA         92563
       _____________________________________________________________
       City                                        State          ZIP Code     Contingent
                                                                               Unliquidated
       Who incurred the debt? Check one.                                       Disputed
       ■ Debtor 1 only
       
        Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
        Debtor 1 and Debtor 2 only                                            Student loans
        At least one of the debtors and another                               Obligations arising out of a separation agreement or divorce that
                                                                                  you did not report as priority claims
        Check if this claim is for a community debt
                                                                               Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                        ■
                                                                               Other. Specify________________________________
                                                                                              Medical services
       ■
        No
        Yes



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                 _______________________________________________________                       Case number (if known)_____________________________________
                 First Name          Middle Name      Last Name



 Part 2:        Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                             Total claim


4.25
                                                                                                               4 ___
                                                                              Last 4 digits of account number ___ 8 ___
                                                                                                                     5 ___
                                                                                                                        5
       Virginia Mason Medical Center
       _____________________________________________________________                                                                                       344.34
                                                                                                                                                    $____________
       Nonpriority Creditor’s Name
                                                                              When was the debt incurred?            ____________
       PO Box 34924
       _____________________________________________________________
       Number          Street
                                                                              As of the date you file, the claim is: Check all that apply.
        Seattle                           WA         98124-1924
       _____________________________________________________________
       City                                        State          ZIP Code     Contingent
                                                                               Unliquidated
       Who incurred the debt? Check one.                                       Disputed
       ■ Debtor 1 only
       
        Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
        Debtor 1 and Debtor 2 only                                            Student loans
        At least one of the debtors and another                               Obligations arising out of a separation agreement or divorce that
                                                                                  you did not report as priority claims
        Check if this claim is for a community debt
                                                                               Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                        ■
                                                                               Other. Specify________________________________
                                                                                              Medical services
       ■ No
       
        Yes

4.26
                                                                              Last 4 digits of account number ___ ___ ___ ___                                0.00
        WebBank/Gettington
       _____________________________________________________________
                                                                                                                                                    $____________
       Nonpriority Creditor’s Name
                                                                              When was the debt incurred?            Aug 2013
                                                                                                                     ____________
        6250 Ridgewood Rd
       _____________________________________________________________
       Number          Street
                                                                              As of the date you file, the claim is: Check all that apply.
        St Cloud                          MN         56303
       _____________________________________________________________
       City                                        State          ZIP Code     Contingent
                                                                               Unliquidated
       Who incurred the debt? Check one.                                       Disputed
       ■ Debtor 1 only
       
        Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
        Debtor 1 and Debtor 2 only                                            Student loans
        At least one of the debtors and another                               Obligations arising out of a separation agreement or divorce that
                                                                                  you did not report as priority claims
        Check if this claim is for a community debt
                                                                               Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                        ■ Other. Specify________________________________
                                                                                              Consumer goods and services by credit card
       ■ No
       
        Yes

4.27                                                                                                                                                     1,050.00
                                                                                                                                                    $____________
                                                                              Last 4 digits of account number ___ ___ ___ ___
       Wells Fargo Bank
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                              When was the debt incurred?            May 2014
                                                                                                                     ____________
       PO Box 14517
       _____________________________________________________________
       Number          Street
                                                                              As of the date you file, the claim is: Check all that apply.
       Des Moines                         IA         50306
       _____________________________________________________________
       City                                        State          ZIP Code     Contingent
                                                                               Unliquidated
       Who incurred the debt? Check one.                                       Disputed
       ■ Debtor 1 only
       
        Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
        Debtor 1 and Debtor 2 only                                            Student loans
        At least one of the debtors and another                               Obligations arising out of a separation agreement or divorce that
                                                                                  you did not report as priority claims
        Check if this claim is for a community debt
                                                                               Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                        ■
                                                                               Other. Specify________________________________
                                                                                              Consumer goods and services by credit card
       ■
        No
        Yes



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Debtor 1        Melissa Megan Skerritt
                _______________________________________________________                          Case number (if known)_____________________________________
                First Name    Middle Name           Last Name



 Part 3:       List Others to Be Notified About a Debt That You Already Listed

 5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
    example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
    2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
    additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

       Arstrat
      _____________________________________________________                On which entry in Part 1 or Part 2 did you list the original creditor?
      Name
                                                                                 4.20 of (Check one):  Part 1: Creditors with Priority Unsecured Claims
                                                                           Line _____
       9800 Centre Pkwy #1100
      _____________________________________________________
      Number         Street                                                                            ■ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                                       
      _____________________________________________________
                                                                           Last 4 digits of account number ___ ___ ___ ___
       Houston                          TX     77036
      _____________________________________________________
      City                                  State               ZIP Code

      Computer Credit
      _____________________________________________________                On which entry in Part 1 or Part 2 did you list the original creditor?
      Name
                                                                                 4.25 of (Check one):  Part 1: Creditors with Priority Unsecured Claims
                                                                           Line _____
      PO Box 5238
      _____________________________________________________
      Number         Street                                                                            ■
                                                                                                        Part 2: Creditors with Nonpriority Unsecured
      _____________________________________________________                Claims

      Winston-Salem                    NC      27113-5238
      _____________________________________________________                Last 4 digits of account number ___ ___ ___ ___
      City                                  State               ZIP Code


      St Mary's Regional Medical Center
      _____________________________________________________                On which entry in Part 1 or Part 2 did you list the original creditor?
      Name
                                                                                 4.24 of (Check one):  Part 1: Creditors with Priority Unsecured Claims
      PO Box 31001-0827
      _____________________________________________________
                                                                           Line _____                 ■
      Number         Street                                                                              Part 2: Creditors with Nonpriority Unsecured
      _____________________________________________________
                                                                           Claims

       Pasadena                         CA     91110-0827
      _____________________________________________________                Last 4 digits of account number ___ ___ ___ ___
      City                                  State               ZIP Code


      _____________________________________________________                On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

                                                                           Line _____ of (Check one):  Part 1: Creditors with Priority Unsecured Claims
      _____________________________________________________
      Number         Street                                                                              Part 2: Creditors with Nonpriority Unsecured
      _____________________________________________________
                                                                           Claims

      _____________________________________________________                Last 4 digits of account number ___ ___ ___ ___
      City                                  State               ZIP Code


      _____________________________________________________                On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

                                                                           Line _____ of (Check one):  Part 1: Creditors with Priority Unsecured Claims
      _____________________________________________________
      Number         Street                                                                              Part 2: Creditors with Nonpriority Unsecured
      _____________________________________________________
                                                                           Claims

      _____________________________________________________                Last 4 digits of account number ___ ___ ___ ___
      City                                  State               ZIP Code


      _____________________________________________________                On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

                                                                           Line _____ of (Check one):  Part 1: Creditors with Priority Unsecured Claims
      _____________________________________________________
      Number         Street                                                                              Part 2: Creditors with Nonpriority Unsecured
      _____________________________________________________
                                                                           Claims

      _____________________________________________________                Last 4 digits of account number ___ ___ ___ ___
      City                                  State               ZIP Code


      _____________________________________________________                On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

      _____________________________________________________                Line _____ of (Check one):  Part 1: Creditors with Priority Unsecured Claims
      Number         Street
                                                                                                         Part 2: Creditors with Nonpriority Unsecured
      _____________________________________________________                Claims

      _____________________________________________________
      City                                  State               ZIP Code
                                                                           Last 4 digits of account number ___ ___ ___ ___


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               _______________________________________________________                 Case number (if known)_____________________________________
               First Name    Middle Name         Last Name



Part 4:    Add the Amounts for Each Type of Unsecured Claim


6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
    Add the amounts for each type of unsecured claim.




                                                                                  Total claim


                6a. Domestic support obligations                          6a.
Total claims                                                                      $_________________________
from Part 1
                6b. Taxes and certain other debts you owe the
                    government                                            6b.     $_________________________

                6c. Claims for death or personal injury while you were
                    intoxicated                                           6c.
                                                                                  $_________________________

                6d. Other. Add all other priority unsecured claims.
                    Write that amount here.                               6d.
                                                                                + $_________________________

                6e. Total. Add lines 6a through 6d.                       6e.
                                                                                                    0.00
                                                                                  $_________________________



                                                                                  Total claim

                6f. Student loans                                         6f.
Total claims                                                                       $_________________________
from Part 2
                6g. Obligations arising out of a separation agreement
                    or divorce that you did not report as priority
                    claims                                                6g.      $_________________________

                6h. Debts to pension or profit-sharing plans, and other
                    similar debts                                         6h.     $_________________________

                6i. Other. Add all other nonpriority unsecured claims.
                    Write that amount here.                               6i.   + $_________________________
                                                                                               16,529.23


                6j. Total. Add lines 6f through 6i.                       6j.
                                                                                              16,529.23
                                                                                   $_________________________




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 Fill in this information to identify your case:

 Debtor                 Melissa Megan Skerritt
                      __________________________________________________________________
                       First Name             Middle Name            Last Name

 Debtor 2              ________________________________________________________________
 (Spouse If filing)    First Name             Middle Name            Last Name


                                          Western District of ________
 United States Bankruptcy Court for the: __________            Washington

 Case number           ___________________________________________
  (If known)                                                                                                                          Check if this is an
                                                                                                                                         amended filing


Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                             12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).


 1. Do you have any executory contracts or unexpired leases?
       No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
      ■ Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).
      
 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
    example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
    unexpired leases.



      Person or company with whom you have the contract or lease                            State what the contract or lease is for


2.1
       Linda Sohlberg
      _____________________________________________________________________                 Lease of Debtor's residence
      Name                                                                                  Debtor as Lessee thereto
      _____________________________________________________________________                 $2,025 per month, Month-to-Month basis
      Number     Street
       Bainbridge Island          WA      98110
      _____________________________________________________________________
      City                         State   ZIP Code

2.2
      _____________________________________________________________________
      Name
      _____________________________________________________________________
      Number     Street
      _____________________________________________________________________
      City                         State   ZIP Code

2.3
      _____________________________________________________________________
      Name
      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.4
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.5
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street
      _____________________________________________________________________
      City                         State   ZIP Code


            Case
Official Form 106G 17-10077-CMA   DocG:1Executory
                              Schedule     Filed Contracts
                                                  01/09/17      Ent. 01/09/17
                                                           and Unexpired Leases 17:47:47                                       Pg. 37 ofpage      1
                                                                                                                                         62 1 of ___
 Fill in this information to identify your case:

 Debtor 1            Melissa Megan Skerritt
                   __________________________________________________________________
                     First Name                     Middle Name                  Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                     Middle Name                  Last Name


                                          Western District of ________
 United States Bankruptcy Court for the: __________            Washington

 Case number         ____________________________________________
  (If known)
                                                                                                                                            Check if this is an
                                                                                                                                              amended filing

Official Form 106H
Schedule H: Your Codebtors                                                                                                                              12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
       No
      
      ■ Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
      Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
      ■ No. Go to line 3.
      
       Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
         No
         Yes. In which community state or territory did you live? __________________. Fill in the name and current address of that person.

                 ______________________________________________________________________
                 Name of your spouse, former spouse, or legal equivalent

                 ______________________________________________________________________
                 Number             Street

                 ______________________________________________________________________
                 City                                             State                      ZIP Code


 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
      shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
      Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
      Schedule E/F, or Schedule G to fill out Column 2.

       Column 1: Your codebtor                                                                           Column 2: The creditor to whom you owe the debt

                                                                                                         Check all schedules that apply:
3.1      Jared Ruggiano
         ________________________________________________________________________________
         Name
                                                                                                         ■ Schedule D, line ______
                                                                                                                            2.1-2

         1123 Vandalia Ave
         ________________________________________________________________________________
                                                                                                         Schedule E/F, line ______
         Number            Street                                                                         Schedule G, line ______
         Bremerton                               WA                   98310
         ________________________________________________________________________________
         City                                                        State                    ZIP Code

3.2
         ________________________________________________________________________________
         Name
                                                                                                          Schedule D, line ______
         ________________________________________________________________________________
                                                                                                         Schedule E/F, line ______
         Number            Street                                                                         Schedule G, line ______
         ________________________________________________________________________________
         City                                                        State                    ZIP Code

3.3
         ________________________________________________________________________________
         Name
                                                                                                          Schedule D, line ______
         ________________________________________________________________________________
                                                                                                         Schedule E/F, line ______
         Number            Street                                                                         Schedule G, line ______
         ________________________________________________________________________________
         City                                                        State                    ZIP Code



            Case
Official Form 106H 17-10077-CMA                             Doc 1            Filed 01/09/17
                                                                              Schedule            Ent. 01/09/17 17:47:47
                                                                                       H: Your Codebtors                        Pg. 38 ofpage      1
                                                                                                                                          62 1 of ___
 Fill in this information to identify your case:


 Debtor 1            Melissa Megan Skerritt
                    ____________________________________________________________________
                     First Name             Middle Name            Last Name

 Debtor 2            ____________________________________________________________________
 (Spouse, if filing) First Name             Middle Name            Last Name


                                          Western District of ___________
 United States Bankruptcy Court for the: __________            Washington

 Case number         ___________________________________________                                   Check if this is:
  (If known)
                                                                                                    An amended filing
                                                                                                    A supplement showing postpetition chapter 13
                                                                                                       income as of the following date:
Official Form 106I                                                                                     ________________
                                                                                                       MM / DD / YYYY

Schedule I: Your Income                                                                                                                           12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1:           Describe Employment


1. Fill in your employment
    information.                                                         Debtor 1                                  Debtor 2 or non-filing spouse

    If you have more than one job,
    attach a separate page with
    information about additional         Employment status            ■
                                                                       Employed                                    Employed
    employers.                                                         Not employed                                Not employed
    Include part-time, seasonal, or
    self-employed work.
                                         Occupation                 __________________________________
                                                                    Bodily Injury Claims                         __________________________________
    Occupation may include student
    or homemaker, if it applies.
                                         Employer’s name             Safeco
                                                                    __________________________________           __________________________________


                                         Employer’s address          1001 4th Ave 15th Fl
                                                                   _______________________________________     ________________________________________
                                                                    Number Street                               Number    Street

                                                                   _______________________________________     ________________________________________

                                                                   _______________________________________     ________________________________________

                                                                    Seattle               WA 98154
                                                                   _______________________________________     ________________________________________
                                                                    City            State  ZIP Code              City                State ZIP Code

                                         How long employed there?         _______
                                                                            10 Yrs                                _______

 Part 2:           Give Details About Monthly Income

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.
    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
    below. If you need more space, attach a separate sheet to this form.

                                                                                              For Debtor 1        For Debtor 2 or
                                                                                                                  non-filing spouse
 2. List monthly gross wages, salary, and commissions (before all payroll
     deductions). If not paid monthly, calculate what the monthly wage would be.       2.         5,352.12
                                                                                             $___________              $____________

 3. Estimate and list monthly overtime pay.                                            3.   + $___________       + $____________

 4. Calculate gross income. Add line 2 + line 3.                                       4.         5,352.12
                                                                                             $__________               $____________




Official Form 106I                                             Schedule I: Your Income                                                        page 1
               Case 17-10077-CMA                   Doc 1     Filed 01/09/17          Ent. 01/09/17 17:47:47                 Pg. 39 of 62
Debtor 1         Melissa Megan Skerritt
                 _______________________________________________________                                                    Case number (if known)_____________________________________
                 First Name         Middle Name                Last Name



                                                                                                                           For Debtor 1        For Debtor 2 or
                                                                                                                                               non-filing spouse

   Copy line 4 here...............................................................................................  4.          5,352.12
                                                                                                                            $___________          $_____________

5. List all payroll deductions:

     5a. Tax, Medicare, and Social Security deductions                                                             5a.           1,080.66
                                                                                                                           $____________          $_____________
     5b. Mandatory contributions for retirement plans                                                              5b.     $____________          $_____________
     5c. Voluntary contributions for retirement plans                                                              5c.     $____________          $_____________
     5d. Required repayments of retirement fund loans                                                              5d.     $____________          $_____________
     5e. Insurance                                                                                                 5e.            440.83
                                                                                                                           $____________          $_____________
     5f. Domestic support obligations                                                                              5f.     $____________          $_____________

     5g. Union dues                                                                                                5g.     $____________          $_____________

     5h. Other deductions. Specify: __________________________________                                             5h.    + $____________      + $_____________
 6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                     6.           1,521.49
                                                                                                                           $____________          $_____________

 7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                             7.           3,830.63
                                                                                                                           $____________          $_____________


 8. List all other income regularly received:

     8a. Net income from rental property and from operating a business,
         profession, or farm
           Attach a statement for each property and business showing gross
           receipts, ordinary and necessary business expenses, and the total
                                                                                                                           $____________          $_____________
           monthly net income.                                                                                     8a.
     8b. Interest and dividends                                                                                    8b.     $____________          $_____________
     8c. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
           Include alimony, spousal support, child support, maintenance, divorce
                                                                                                                           $____________          $_____________
           settlement, and property settlement.                                                                    8c.
     8d. Unemployment compensation                                                                                 8d.     $____________          $_____________
     8e. Social Security                                                                                           8e.     $____________          $_____________
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) of any non-cash assistance
         that you receive, such as food stamps (benefits under the Supplemental
         Nutrition Assistance Program) or housing subsidies.
         Specify: ___________________________________________________ 8f.                                                  $____________          $_____________

     8g. Pension or retirement income                                                                              8g.     $____________          $_____________

     8h. Other monthly income. Specify: _______________________________                                            8h.    + $____________       + $_____________
 9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                           9.     $____________          $_____________

10. Calculate monthly income. Add line 7 + line 9.                                                                                                                            3,830.63
                                                                                                                               3,830.63 +
                                                                                                                           $___________           $_____________       = $_____________
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                      10.

11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify: _______________________________________________________________________________                                                                     11. + $_____________

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
                                                                                                                                                                              3,830.63
                                                                                                                                                                         $_____________
    Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                           12.
                                                                                                                                                                         Combined
                                                                                                                                                                         monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
     ■
      No.
      Yes. Explain:

Official Form 106I                                                                  Schedule I: Your Income                                                                 page 2
             Case 17-10077-CMA                                 Doc 1             Filed 01/09/17                     Ent. 01/09/17 17:47:47               Pg. 40 of 62
   Fill in this information to identify your case:

   Debtor 1            Melissa Megan Skerritt
                     __________________________________________________________________
                       First Name             Middle Name                  Last Name                           Check if this is:
   Debtor 2            ________________________________________________________________
   (Spouse, if filing) First Name             Middle Name                  Last Name
                                                                                                                An amended filing
                                                                                                                A supplement showing postpetition chapter 13
                                            Western District of __________
   United States Bankruptcy Court for the: __________            Washington                                        expenses as of the following date:
                                                                                                                   ________________
   Case number         ___________________________________________                                                 MM / DD / YYYY
    (If known)




 Official Form 106J
 Schedule J: Your Expenses                                                                                                                                   12/15

 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
 information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
 (if known). Answer every question.

  Part 1:            Describe Your Household

 1. Is this a joint case?

    ■
     No. Go to line 2.
     Yes. Does Debtor 2 live in a separate household?
                  No
                  Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
 2. Do you have dependents?                  No                                            Dependent’s relationship to              Dependent’s   Does dependent live
    Do not list Debtor 1 and                ■
                                             Yes. Fill out this information for            Debtor 1 or Debtor 2                     age           with you?
    Debtor 2.                                   each dependent ..........................
    Do not state the dependents’                                                             Daughter                                   12          No
                                                                                            _________________________                ________
    names.                                                                                                                                         ■
                                                                                                                                                    Yes
                                                                                            _________________________                ________       No
                                                                                                                                                    Yes
                                                                                            _________________________                ________       No
                                                                                                                                                    Yes
                                                                                            _________________________                ________       No
                                                                                                                                                    Yes
                                                                                            _________________________                ________       No
                                                                                                                                                    Yes
 3. Do your expenses include
    expenses of people other than
                                             No
    yourself and your dependents?            Yes

 Part 2:         Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
 expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
 applicable date.
 Include expenses paid for with non-cash government assistance if you know the value of
 such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                                  Your expenses

  4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                                                  2,025.00
                                                                                                                                       $_____________________
      any rent for the ground or lot.                                                                                          4.

      If not included in line 4:
      4a.    Real estate taxes                                                                                                 4a.     $_____________________
      4b.    Property, homeowner’s, or renter’s insurance                                                                      4b.                  15.00
                                                                                                                                       $_____________________
      4c.    Home maintenance, repair, and upkeep expenses                                                                     4c.     $_____________________
      4d.    Homeowner’s association or condominium dues                                                                       4d.     $_____________________

Official Form 106J                                               Schedule J: Your Expenses                                                               page 1
                 Case 17-10077-CMA                   Doc 1          Filed 01/09/17                 Ent. 01/09/17 17:47:47                 Pg. 41 of 62
 Debtor 1        Melissa Megan Skerritt
                 _______________________________________________________                      Case number (if known)_____________________________________
                 First Name     Middle Name        Last Name




                                                                                                                         Your expenses

                                                                                                                        $_____________________
 5. Additional mortgage payments for your residence, such as home equity loans                                   5.


 6. Utilities:

      6a.   Electricity, heat, natural gas                                                                       6a.                150.00
                                                                                                                        $_____________________
      6b.   Water, sewer, garbage collection                                                                     6b.                 50.00
                                                                                                                        $_____________________
      6c.   Telephone, cell phone, Internet, satellite, and cable services                                       6c.                100.00
                                                                                                                        $_____________________
      6d.   Other. Specify: _______________________________________________                                      6d.    $_____________________

 7. Food and housekeeping supplies                                                                               7.                 200.00
                                                                                                                        $_____________________

 8. Childcare and children’s education costs                                                                     8.                  50.00
                                                                                                                        $_____________________
 9. Clothing, laundry, and dry cleaning                                                                          9.                 100.00
                                                                                                                        $_____________________
10. Personal care products and services                                                                          10.                 50.00
                                                                                                                        $_____________________
11. Medical and dental expenses                                                                                  11.                 75.00
                                                                                                                        $_____________________

12. Transportation. Include gas, maintenance, bus or train fare.                                                                    300.00
                                                                                                                        $_____________________
      Do not include car payments.                                                                               12.

13.   Entertainment, clubs, recreation, newspapers, magazines, and books                                         13.                 50.00
                                                                                                                        $_____________________
14.   Charitable contributions and religious donations                                                           14.    $_____________________

15. Insurance.                                                                                                                                         1

      Do not include insurance deducted from your pay or included in lines 4 or 20.

      15a. Life insurance                                                                                        15a.   $_____________________
      15b. Health insurance                                                                                      15b.   $_____________________
      15c. Vehicle insurance                                                                                     15c.   $_____________________
      15d. Other insurance. Specify:_______________________________________                                      15d.   $_____________________

16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify: ________________________________________________________                                          16.    $_____________________

17. Installment or lease payments:
                                                                                                                                    376.00
                                                                                                                        $_____________________
      17a. Car payments for Vehicle 1                                                                            17a.

      17b. Car payments for Vehicle 2                                                                            17b.   $_____________________
                           Secured Personal Loan                                                                                    225.00
                                                                                                                        $_____________________
      17c. Other. Specify:_______________________________________________                                        17c.

      17d. Other. Specify:_______________________________________________                                        17d.   $_____________________

18. Your payments of alimony, maintenance, and support that you did not report as deducted from
      your pay on line 5, Schedule I, Your Income (Official Form 106I).                                           18.
                                                                                                                        $_____________________

19. Other payments you make to support others who do not live with you.

      Specify:_______________________________________________________                                             19.   $_____________________

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

      20a. Mortgages on other property                                                                           20a.   $_____________________

      20b. Real estate taxes                                                                                     20b.   $_____________________

      20c. Property, homeowner’s, or renter’s insurance                                                          20c.   $_____________________

      20d. Maintenance, repair, and upkeep expenses                                                              20d.   $_____________________

      20e. Homeowner’s association or condominium dues                                                           20e.   $_____________________



Official Form 106J                                             Schedule J: Your Expenses                                                      page 2
              Case 17-10077-CMA                    Doc 1         Filed 01/09/17          Ent. 01/09/17 17:47:47            Pg. 42 of 62
 Debtor 1        Melissa Megan Skerritt
                 _______________________________________________________                        Case number (if known)_____________________________________
                 First Name    Middle Name        Last Name




21.    Other. Specify: _________________________________________________                                           21.   +$_____________________

22.    Calculate your monthly expenses.

       22a. Add lines 4 through 21.                                                                              22a.                3,816.00
                                                                                                                          $_____________________

       22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                      22b.     $_____________________

       22c. Add line 22a and 22b. The result is your monthly expenses.                                           22c.               3,816.00
                                                                                                                          $_____________________



23. Calculate your monthly net income.
                                                                                                                                     3,830.63
                                                                                                                           $_____________________
      23a.   Copy line 12 (your combined monthly income) from Schedule I.                                         23a.

      23b.   Copy your monthly expenses from line 22c above.                                                      23b.   – $_____________________
                                                                                                                                      3,816.00

      23c.   Subtract your monthly expenses from your monthly income.
                                                                                                                                       14.63
                                                                                                                           $_____________________
             The result is your monthly net income.                                                               23c.




24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      ■
       No.
       Yes.       Explain here:




Official Form 106J                                            Schedule J: Your Expenses                                                         page 3
               Case 17-10077-CMA                  Doc 1         Filed 01/09/17          Ent. 01/09/17 17:47:47               Pg. 43 of 62
Fill in this information to identify your case:

Debtor 1           Melissa Megan Skerritt
                  __________________________________________________________________
                    First Name              Middle Name             Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name              Middle Name             Last Name


                                         Western District of __________
United States Bankruptcy Court for the: __________           Washington
Case number         ___________________________________________
(If known)
                                                                                                                                     Check if this is an
                                                                                                                                        amended filing



  Official Form 106Dec
  Declaration About an Individual Debtor’s Schedules                                                                                             12/15

  If two married people are filing together, both are equally responsible for supplying correct information.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
  years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




                    Sign Below



       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

       
       ■ No
       
        Yes. Name of person__________________________________________________. Attach Bankruptcy Petition Preparer’s Notice, Declaration, and
                                                                                               Signature (Official Form 119).




       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.




     /s/ Melissa Megan Skerritt
          ______________________________________________          
                                                                   _____________________________
         Signature of Debtor 1                                         Signature of Debtor 2


                 01/09/2017
         Date _________________                                        Date _________________
                MM /    DD       /   YYYY                                       MM / DD /   YYYY




  Official Form 106Dec                                       Declaration About an Individual Debtor’s Schedules
                  Case 17-10077-CMA                       Doc 1   Filed 01/09/17                Ent. 01/09/17 17:47:47          Pg. 44 of 62
   Fill in this information to identify your case:

   Debtor 1            Melissa Megan Skerritt
                     __________________________________________________________________
                       First Name             Middle Name              Last Name

   Debtor 2            ________________________________________________________________
   (Spouse, if filing) First Name             Middle Name              Last Name


                                            Western District of ______________
   United States Bankruptcy Court for the: __________            Washington

   Case number         ___________________________________________
    (If known)                                                                                                                         Check if this is an
                                                                                                                                         amended filing




 Official Form 107
 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                   12/15

 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
 information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
 number (if known). Answer every question.


   Part 1:         Give Details About Your Marital Status and Where You Lived Before


   1. What is your current marital status?


         Married
        ■ Not married
        

   2. During the last 3 years, have you lived anywhere other than where you live now?

        No
       ■ Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
       
                 Debtor 1:                                      Dates Debtor 1       xxxxxx
                                                                                     Debtor 2:                                             Dates Debtor 2
                                                                lived there                                                                lived there

                                                                                      Same as Debtor 1                                    Same as Debtor 1
                  15441 Sunrise Dr NE
                 __________________________________________     From     Aug  2016
                                                                         ________        525 Homestead Ln #D-123
                                                                                        ___________________________________________                Nov 2012
                                                                                                                                             From ________
                  Number    Street                                                      Number Street
                                                                To       Oct 2016
                                                                         ________                                                            To     Feb 2016
                                                                                                                                                   ________
                 __________________________________________                             ___________________________________________

                 Bainbridge Island       WA 98110
                 __________________________________________                              Bainbridge Island      WA 98110
                                                                                        ___________________________________________
                 City                    State ZIP Code                                 City                    State ZIP Code


                                                                                      Same as Debtor 1                                   Same as Debtor 1
                  21200 E Country Vista Dr
                 __________________________________________     From     Mar 2016
                                                                         ________       ___________________________________________          From ________
                  Number    Street                                                      Number Street
                                                                To       Aug 2016
                                                                         ________                                                            To    ________
                 __________________________________________                             ___________________________________________

                  Liberty Lake           WA 99019
                 __________________________________________                             ___________________________________________
                 City                    State ZIP Code                                 City                    State   ZIP Code


   3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
       states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
       ■ No
       
        Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).


   Part 2: Explain the Sources of Your Income

Official Form 107                              Statement of Financial Affairs for Individuals Filing for Bankruptcy                            page 1


                 Case 17-10077-CMA                   Doc 1     Filed 01/09/17             Ent. 01/09/17 17:47:47            Pg. 45 of 62
Debtor 1       Melissa Megan Skerritt
              _______________________________________________________                             Case number (if known)_____________________________________
              First Name    Middle Name          Last Name




 4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
     Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
     If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

      No
    ■ Yes. Fill in the details.
     
                                                       Debtor 1                                            Debtor 2

                                                       Sources of income          Gross income             Sources of income           Gross income
                                                       Check all that apply.      (before deductions and   Check all that apply.       (before deductions and
                                                                                  exclusions)                                          exclusions)


           From January 1 of current year until         
                                                        ■ Wages, commissions,                               Wages, commissions,
                                                             bonuses, tips                 2,522.84
                                                                                  $________________            bonuses, tips           $________________
           the date you filed for bankruptcy:
                                                         Operating a business                              Operating a business

           For last calendar year:                      
                                                        ■ Wages, commissions,                               Wages, commissions,
                                                             bonuses, tips                64,225.45
                                                                                  $________________            bonuses, tips           $________________
                                        2016
           (January 1 to December 31, _________)         Operating a business                              Operating a business
                                          YYYY



           For the calendar year before that:           
                                                        ■ Wages, commissions,                               Wages, commissions,
                                                             bonuses, tips                                     bonuses, tips
                                                                                          57,537.83
                                                                                  $________________                                    $________________
                                        2015
           (January 1 to December 31, _________)         Operating a business                             
                                                                                                           ■ Operating a business
                                          YYYY



 5. Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
     unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
     gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

     ■ No
     
      Yes. Fill in the details.
                                                        Debtor 1                                            Debtor 2

                                                        Sources of income         Gross income from         Sources of income          Gross income from
                                                        Describe below.           each source               Describe below.            each source
                                                                                  (before deductions and                               (before deductions and
                                                                                  exclusions)                                          exclusions)


                                                __________________               $_________________ _____________________ $_________________
           From January 1 of current year until
           the date you filed for bankruptcy:   __________________               $_________________ _____________________ $_________________
                                                      __________________         $_________________ _____________________ $_________________


           For last calendar year:                    __________________         $_________________ _____________________ $_________________
                                       2016
           (January 1 to December 31, ______)         __________________         $_________________ _____________________ $_________________
                                          YYYY
                                                      __________________         $_________________ _____________________ $_________________



           For the calendar year before that:         __________________         $_________________ _____________________ $_________________
                                       2015
           (January 1 to December 31, ______)         __________________         $_________________ _____________________ $_________________
                                          YYYY
                                                      __________________         $_________________ _____________________ $_________________




Official Form 107                            Statement of Financial Affairs for Individuals Filing for Bankruptcy                                  page 2


            Case 17-10077-CMA                    Doc 1          Filed 01/09/17           Ent. 01/09/17 17:47:47                    Pg. 46 of 62
Debtor 1      Melissa Megan Skerritt
             _______________________________________________________                               Case number (if known)_____________________________________
             First Name         Middle Name           Last Name




 Part 3:    List Certain Payments You Made Before You Filed for Bankruptcy



 6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

      No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
             “incurred by an individual primarily for a personal, family, or household purpose.”
             During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,225* or more?

              No. Go to line 7.
              Yes. List below each creditor to whom you paid a total of $6,225* or more in one or more payments and the
                           total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                           child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.
             * Subject to adjustment on 4/01/16 and every 3 years after that for cases filed on or after the date of adjustment.

 
  ■ Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
             During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

              No. Go to line 7.
             
             ■ Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                           creditor. Do not include payments for domestic support obligations, such as child support and
                           alimony. Also, do not include payments to an attorney for this bankruptcy case.


                                                                       Dates of     Total amount paid        Amount you still owe       Was this payment for…
                                                                       payment


                     Inspirus Credit Union                             Dec 2016
                    ____________________________________
                    Creditor’s Name
                                                                      _________               1,804.52 $__________________
                                                                                    $_________________           27,848.00               Mortgage
                                                                                                                                        ■ Car
                                                                                                                                        
                     5200 Southcenter Blvd
                    ____________________________________               Nov 2016
                                                                      _________
                    Number     Street                                                                                                    Credit card
                                                                       Oct 2016
                                                                                                                                        
                                                                                                                                        ■ Loan repayment
                    ____________________________________              _________
                                                                                                                                         Suppliers or vendors
                    Seattle           WA       98188
                    ____________________________________
                    City                      State       ZIP Code                                                                       Other ____________


                    ____________________________________              _________     $_________________ $__________________               Mortgage
                    Creditor’s Name
                                                                                                                                         Car
                    ____________________________________
                    Number     Street
                                                                      _________                                                          Credit card
                                                                                                                                         Loan repayment
                    ____________________________________              _________
                                                                                                                                         Suppliers or vendors
                    ____________________________________
                    City                      State       ZIP Code
                                                                                                                                         Other ____________



                    ____________________________________              _________     $_________________ $__________________               Mortgage
                    Creditor’s Name
                                                                                                                                         Car
                    ____________________________________
                    Number     Street
                                                                      _________                                                          Credit card
                                                                                                                                         Loan repayment
                    ____________________________________              _________
                                                                                                                                         Suppliers or vendors
                    ____________________________________
                    City                      State       ZIP Code
                                                                                                                                         Other ____________



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           Case 17-10077-CMA                          Doc 1          Filed 01/09/17        Ent. 01/09/17 17:47:47                   Pg. 47 of 62
Debtor 1           Melissa Megan Skerritt
                  _______________________________________________________                           Case number (if known)_____________________________________
                  First Name      Middle Name           Last Name




 7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
     corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
     agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
     such as child support and alimony.

     ■ No
     
      Yes. List all payments to an insider.
                                                                       Dates of      Total amount     Amount you still    Reason for this payment
                                                                       payment       paid             owe


           ____________________________________________              _________      $____________ $____________
           Insider’s Name


           ____________________________________________              _________
           Number        Street


           ____________________________________________              _________

           ____________________________________________
           City                                 State   ZIP Code



           ____________________________________________                             $____________ $____________
                                                                     _________
           Insider’s Name

           ____________________________________________              _________
           Number        Street


           ____________________________________________              _________

           ____________________________________________
           City                                 State   ZIP Code


 8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
     an insider?
     Include payments on debts guaranteed or cosigned by an insider.

     ■ No
     
      Yes. List all payments that benefited an insider.
                                                                      Dates of       Total amount     Amount you still    Reason for this payment
                                                                      payment        paid             owe
                                                                                                                          Include creditor’s name

           ____________________________________________              _________      $____________ $____________
           Insider’s Name


           ____________________________________________              _________
           Number        Street


           ____________________________________________              _________

           ____________________________________________
           City                                 State   ZIP Code




           ____________________________________________                             $____________ $____________
                                                                     _________
           Insider’s Name


           ____________________________________________              _________
           Number        Street


           ____________________________________________              _________

           ____________________________________________
           City                                 State   ZIP Code




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Debtor 1       Melissa Megan Skerritt
              _______________________________________________________                                        Case number (if known)_____________________________________
              First Name            Middle Name            Last Name




  Part 4:    Identify Legal Actions, Repossessions, and Foreclosures
 9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
     and contract disputes.

     ■ No
     
      Yes. Fill in the details.
                                                                  Nature of the case                   Court or agency                                Status of the case



           Case title_____________________________
                                                                                                      ________________________________________
                                                                                                      Court Name
                                                                                                                                                       Pending
                                                                                                                                                       On appeal
           ____________________________________                                                       ________________________________________
                                                                                                      Number    Street                                 Concluded
           Case number ________________________                                                       ________________________________________
                                                                                                      City                  State   ZIP Code




           Case title_____________________________
                                                                                                      ________________________________________
                                                                                                      Court Name
                                                                                                                                                       Pending
                                                                                                                                                       On appeal
           ____________________________________                                                       ________________________________________
                                                                                                      Number    Street                                 Concluded
           Case number ________________________                                                       ________________________________________
                                                                                                      City                  State   ZIP Code



 10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
     Check all that apply and fill in the details below.

      No. Go to line 11.
     ■
      Yes. Fill in the information below.
                                                                            Describe the property                                    Date           Value of the property



               _________________________________________                                                                             __________      $______________
               Creditor’s Name


               _________________________________________
               Number      Street                                           Explain what happened

                                                                             Property was repossessed.
               _________________________________________
                                                                             Property was foreclosed.
                                                                             Property was garnished.
               _________________________________________
               City                               State   ZIP Code           Property was attached, seized, or levied.
                                                                            Describe the property                                    Date            Value of the property



                                                                                                                                    __________       $______________
               _________________________________________
               Creditor’s Name


               _________________________________________
               Number      Street
                                                                            Explain what happened

               _________________________________________                     Property was repossessed.
                                                                             Property was foreclosed.
               _________________________________________
               City                               State   ZIP Code
                                                                             Property was garnished.
                                                                             Property was attached, seized, or levied.


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Debtor 1          Melissa Megan Skerritt
                  _______________________________________________________                                Case number (if known)_____________________________________
                  First Name     Middle Name             Last Name




 11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
     accounts or refuse to make a payment because you owed a debt?
     ■ No
     
      Yes. Fill in the details.
                                                                 Describe the action the creditor took                         Date action      Amount
                                                                                                                               was taken
           ______________________________________
           Creditor’s Name


           ______________________________________                                                                             ____________ $________________
           Number     Street


           ______________________________________

           ______________________________________
           City                           State   ZIP Code       Last 4 digits of account number: XXXX–___ ___ ___ ___


 12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
     creditors, a court-appointed receiver, a custodian, or another official?
     ■ No
     
      Yes

 Part 5:          List Certain Gifts and Contributions


 13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

     ■ No
     
      Yes. Fill in the details for each gift.

            Gifts with a total value of more than $600           Describe the gifts                                            Dates you gave       Value
            per person                                                                                                         the gifts



           ______________________________________                                                                              _________          $_____________
           Person to Whom You Gave the Gift


           ______________________________________                                                                              _________          $_____________

           ______________________________________
           Number     Street


           ______________________________________
           City                           State   ZIP Code


           Person’s relationship to you    ______________


           Gifts with a total value of more than $600            Describe the gifts                                            Dates you gave      Value
           per person                                                                                                          the gifts


           ______________________________________                                                                              _________          $_____________
           Person to Whom You Gave the Gift


           ______________________________________                                                                              _________          $_____________


           ______________________________________
           Number     Street


           ______________________________________
           City                           State   ZIP Code


           Person’s relationship to you ______________


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Debtor 1            Melissa Megan Skerritt
                   _______________________________________________________                                     Case number (if known)_____________________________________
                   First Name     Middle Name              Last Name




 14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

     
     ■ No
      Yes. Fill in the details for each gift or contribution.
            Gifts or contributions to charities                   Describe what you contributed                                         Date you          Value
            that total more than $600                                                                                                   contributed



           _____________________________________                                                                                        _________         $_____________
           Charity’s Name


           _____________________________________                                                                                        _________         $_____________


           _____________________________________
           Number      Street



           _____________________________________
           City           State    ZIP Code




 Part 6:           List Certain Losses


 15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
     disaster, or gambling?

     
     ■ No
      Yes. Fill in the details.
            Describe the property you lost and                     Describe any insurance coverage for the loss                         Date of your      Value of property
            how the loss occurred                                                                                                       loss              lost
                                                                   Include the amount that insurance has paid. List pending insurance
                                                                   claims on line 33 of Schedule A/B: Property.


                                                                                                                                        _________         $_____________




 Part 7:          List Certain Payments or Transfers

 16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
     you consulted about seeking bankruptcy or preparing a bankruptcy petition?
     Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

      No
     
     ■ Yes. Fill in the details.
                                                                   Description and value of any property transferred                    Date payment or   Amount of payment
             Lance L Lee                                                                                                                transfer was
            ___________________________________
            Person Who Was Paid                                                                                                         made

             1001 4th Ave Ste 3200
            ___________________________________
                                                                 Toward Attorney Fee: $750
            Number       Street                                  Toward Filing Fee: $100                                                 12/22//2016
                                                                                                                                        _________                 850.00
                                                                                                                                                          $_____________

            ___________________________________
                                                                                                                                        _________         $_____________
             Seattle            WA 98154
            ___________________________________
            City                       State    ZIP Code


            ____________________________________________
            Email or website address

            ___________________________________
            Person Who Made the Payment, if Not You



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Debtor 1          Melissa Megan Skerritt
                  _______________________________________________________                                   Case number (if known)_____________________________________
                  First Name      Middle Name              Last Name




                                                                   Description and value of any property transferred               Date payment or        Amount of
                                                                                                                                   transfer was made      payment

           ____________________________________
           Person Who Was Paid
                                                                                                                                   _________             $_____________
           ____________________________________
           Number       Street

                                                                                                                                   _________             $_____________
           ____________________________________

           ____________________________________
           City                        State    ZIP Code



           ________________________________________________
           Email or website address

           ___________________________________
           Person Who Made the Payment, if Not You


 17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
     promised to help you deal with your creditors or to make payments to your creditors?
     Do not include any payment or transfer that you listed on line 16.

     
     ■ No
      Yes. Fill in the details.
                                                                   Description and value of any property transferred               Date payment or       Amount of payment
                                                                                                                                   transfer was
           ____________________________________                                                                                    made
           Person Who Was Paid

           ____________________________________                                                                                    _________             $____________
           Number        Street

           ____________________________________
                                                                                                                                   _________             $____________
           ____________________________________
           City                        State    ZIP Code

 18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
     transferred in the ordinary course of your business or financial affairs?
     Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
     Do not include gifts and transfers that you have already listed on this statement.
      No
     ■
      Yes. Fill in the details.
                                                                   Description and value of property        Describe any property or payments received      Date transfer
                                                                   transferred                              or debts paid in exchange                       was made
           ___________________________________
           Person Who Received Transfer

           ___________________________________                                                                                                              _________
           Number       Street

           ___________________________________

           ___________________________________
           City                        State    ZIP Code


           Person’s relationship to you _____________

           ___________________________________
           Person Who Received Transfer
                                                                                                                                                            _________
           ___________________________________
           Number       Street

           ___________________________________

           ___________________________________
           City                        State    ZIP Code

           Person’s relationship to you _____________

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Debtor 1           Melissa Megan Skerritt
                   _______________________________________________________                                   Case number (if known)_____________________________________
                   First Name     Middle Name              Last Name




 19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
     are a beneficiary? (These are often called asset-protection devices.)

     ■
      No
      Yes. Fill in the details.
                                                                   Description and value of the property transferred                                       Date transfer
                                                                                                                                                           was made


                                                                                                                                                           _________
           Name of trust __________________________


           ______________________________________




 Part 8: List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

 20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
     closed, sold, moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
     brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
      No
      Yes. Fill in the details.
                                                                   Last 4 digits of account number     Type of account or        Date account was       Last balance before
                                                                                                       instrument                closed, sold, moved,   closing or transfer
                                                                                                                                 or transferred
            ____________________________________
            Name of Financial Institution
                                                                   XXXX–___ ___ ___ ___                Checking                _________              $___________
            ____________________________________
            Number       Street
                                                                                                        Savings
            ____________________________________                                                        Money market
            ____________________________________
                                                                                                        Brokerage
            City                       State    ZIP Code
                                                                                                        Other__________

            ____________________________________                   XXXX–___ ___ ___ ___                Checking                _________              $___________
            Name of Financial Institution
                                                                                                        Savings
            ____________________________________
            Number       Street                                                                         Money market
            ____________________________________                                                        Brokerage
            ____________________________________                                                        Other__________
            City                       State    ZIP Code


 21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
     securities, cash, or other valuables?
     ■
      No
      Yes. Fill in the details.
                                                                   Who else had access to it?                      Describe the contents                       Do you still
                                                                                                                                                               have it?

                                                                                                                                                                No
            ____________________________________
            Name of Financial Institution
                                                                  _______________________________________
                                                                  Name
                                                                                                                                                                Yes
            ____________________________________                  _______________________________________                                                      
            Number       Street                                   Number    Street

            ____________________________________
                                                                  _______________________________________
                                                                  City        State     ZIP Code
            ____________________________________
            City                       State    ZIP Code



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Debtor 1           Melissa Megan Skerritt
                   _______________________________________________________                                             Case number (if known)_____________________________________
                   First Name     Middle Name               Last Name




22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
    
    ■ No
     Yes. Fill in the details.
                                                                   Who else has or had access to it?                        Describe the contents                       Do you still
                                                                                                                                                                        have it?


            ___________________________________                    _______________________________________                                                               No
            Name of Storage Facility                               Name
                                                                                                                                                                         Yes
            ___________________________________                    _______________________________________                                                              
            Number       Street                                    Number    Street

            ___________________________________                    _______________________________________
                                                                   City State ZIP Code
            ___________________________________
            City                        State    ZIP Code



 Part 9:             Identify Property You Hold or Control for Someone Else

 23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
     or hold in trust for someone.
     ■
      No
      Yes. Fill in the details.
                                                                  Where is the property?                                    Describe the property                   Value


            ___________________________________
            Owner’s Name                                                                                                                                            $__________
                                                                 _________________________________________
            ___________________________________                  Number     Street
            Number       Street
                                                                 _________________________________________
            ___________________________________
                                                                 _________________________________________
            ___________________________________                  City                             State     ZIP Code
            City                        State    ZIP Code


 Part 10:            Give Details About Environmental Information

 For the purpose of Part 10, the following definitions apply:
  Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
     hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
     including statutes or regulations controlling the cleanup of these substances, wastes, or material.

  Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
     utilize it or used to own, operate, or utilize it, including disposal sites.

  Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
     substance, hazardous material, pollutant, contaminant, or similar term.

 Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

 24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?


      No
     ■
      Yes. Fill in the details.
                                                                   Governmental unit                            Environmental law, if you know it                  Date of notice



           ____________________________________                   _______________________________                                                                   _________
           Name of site                                           Governmental unit

           ____________________________________                   _______________________________
           Number       Street                                    Number    Street

                                                                  _______________________________
           ____________________________________                   City                   State   ZIP Code


           ____________________________________
           City                        State    ZIP Code




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Debtor 1           Melissa Megan Skerritt
                   _______________________________________________________                                             Case number (if known)_____________________________________
                   First Name      Middle Name              Last Name




 25. Have you notified any governmental unit of any release of hazardous material?

     
     ■ No
      Yes. Fill in the details.
                                                                   Governmental unit                               Environmental law, if you know it                   Date of notice


            ____________________________________ _______________________________
            Name of site                                          Governmental unit
                                                                                                                                                                        _________

            ____________________________________ _______________________________
            Number       Street                                   Number     Street


            ____________________________________ _______________________________
                                                                  City                  State    ZIP Code

            ____________________________________
            City                        State    ZIP Code


 26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

     ■ No
     
      Yes. Fill in the details.
                                                                                                                                                                        Status of the
                                                                    Court or agency                                     Nature of the case
                                                                                                                                                                        case

           Case title______________________________
                                                                    ________________________________
                                                                    Court Name
                                                                                                                                                                         Pending
           ______________________________________
                                                                                                                                                                         On appeal
                                                                    ________________________________
                                                                    Number     Street                                                                                   Concluded

           ______________________________________
                                                                    ________________________________
           Case number                                              City                        State   ZIP Code                                                        

 Part 11:            Give Details About Your Business or Connections to Any Business
 27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
            A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
            A member of a limited liability company (LLC) or limited liability partnership (LLP)
            A partner in a partnership
            An officer, director, or managing executive of a corporation
            An owner of at least 5% of the voting or equity securities of a corporation
     
     ■ No. None of the above applies. Go to Part 12.
      Yes. Check all that apply above and fill in the details below for each business.
                                                                    Describe the nature of the business                               Employer Identification number
            ____________________________________                                                                                      Do not include Social Security number or ITIN.
            Business Name


            ____________________________________                                                                                      EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            Number        Street
                                                                    Name of accountant or bookkeeper                                  Dates business existed
            ____________________________________

                                                                                                                                      From      _______ To _______
            ____________________________________
            City                        State    ZIP Code

                                                                    Describe the nature of the business                               Employer Identification number
            ____________________________________                                                                                      Do not include Social Security number or ITIN.
            Business Name


            ____________________________________                                                                                      EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            Number        Street
                                                                    Name of accountant or bookkeeper                                  Dates business existed
            ____________________________________

            ____________________________________
                                                                                                                                      From      _______ To _______
            City                        State    ZIP Code


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Debtor 1          Melissa Megan Skerritt
                  _______________________________________________________                                Case number (if known)_____________________________________
                  First Name      Middle Name          Last Name




                                                                                                                       Employer Identification number
                                                               Describe the nature of the business
                                                                                                                       Do not include Social Security number or ITIN.
           ____________________________________
           Business Name
                                                                                                                       EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
           ____________________________________
           Number        Street
                                                               Name of accountant or bookkeeper                        Dates business existed

           ____________________________________

           ____________________________________                                                                        From     _______ To _______
           City                        State    ZIP Code




 28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
     institutions, creditors, or other parties.

      No
     ■
      Yes. Fill in the details below.
                                                               Date issued



           ____________________________________                ____________
           Name                                                MM / DD / YYYY


           ____________________________________
           Number        Street


           ____________________________________

           ____________________________________
           City                        State    ZIP Code




 Part 12:         Sign Below


      I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
      answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
      in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.



          /s/ Melissa Megan Skerritt
           ______________________________________________                    _____________________________
           Signature of Debtor 1                                                Signature of Debtor 2


                  01/09/2017
           Date ________________                                                Date _________________

      Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

      
      ■ No
       Yes

      Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
      
      ■ No
       Yes. Name of person_____________________________________________________________. Attach the Bankruptcy Petition Preparer’s Notice,
                                                                                                                Declaration, and Signature (Official Form 119).




Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 12


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                       UNITED STATES BANKRUPTCY COURT
                       WESTERN DISTRICT OF WASHINGTON



IN RE:


Melissa Megan Skerritt                                  CASE NO.:




                       VERIFICATION OF CREDITOR MATRIX

         The above named Debtor(s) hereby verifies that the attached list of creditors is

true and correct to the best of my (our) knowledge.



Date: January 9, 2017                                 /s/ Lance L. Lee
                                                      Attorney for Debtor(s)
                                                                          - OR -


                                                      /s/ Melissa Megan Skerritt
                                                      Debtor



                                                      Joint Debtor




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  Arstrat
  9800 Centre Pkwy #1100
  Houston, TX 77036

  Audit & Adjustment
  PO Box 1959
  Lynnwood, WA 98046

  Automated Accounts
  430 W Sharp Ave
  Spokane, WA 99201-2421

  Bainbridge Island Ambulance
  PO Box 3510
  Sillverdale, WA 98383-3510

  Capital One Bank
  PO Box 30181
  Salt Lake City, UT        84130

  Capital One Bank
  PO Box 30185
  Salt Lake City, UT        84130

  CBS Collections
  521 W Maxwell Ave
  Spokane, WA 99201-2417

  Comenity/Lane Bryant
  PO Box 182782
  Columbus, OH 43218-2782

  Computer Credit
  PO Box 5238
  Winston-Salem, NC    27113-5238

  Credit One Bank
  PO Box 98873
  Las Vegas, NV 89193

  Fingerhut/WebBank
  6250 Ridgewood Rd
  St Cloud, MN 56303

  First Premier Bank
  3820 N Louise Ave
  Sioux Falls, SD 57107-0145

  First Premier Bank
  PO Box 5524
  Sioux Falls, SD 57117-5524




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  Inspirus Credit Union
  3405 188th St SW
  Lynnwood, WA 98037

  Inspirus Credit Union
  5200 Southcenter Blvd
  Seattle, WA 98188

  Integris
  PO Box 108801
  Oklahoma City, OK    73101-8801

  Kitsap Physical Therapy and Sports Clinic
  19319 7th Ave Ste 100
  Poulsbo, WA 98370

  Kohls/Capital One
  PO Box 3115
  Milwaukie, WI 53201

  Merchants Credit
  PO Box 7416
  Bellevue, WA 98008-1416

  Merrick Bank
  PO Box 9201
  Old Bethpage, NY    11804

  OneMain Financial
  6801 Colwell Blvd
  Irving, TX 75039

  OneMain Financial
  PO Box 499
  Hanover, MD 21076

  OneMain Financial
  PO Box 6042
  Sioux Falls, SD 57117-6042

  Puget Sound Collections
  PO Box 66995
  Tacoma, WA 98464

  St Mary's Regional Medical Center
  PO Box 31001-0827
  Pasadena, CA 91110-0827

  State Collection Service
  PO Box 6250
  Madison, WI 53701




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  Swedish -Cherry Hill
  MS 23362674PO Box 660064
  Dallas, TX 75266-0064

  SyncBank/Amazon
  PO Box 965015
  Orlando, FL 32896-5015

  SyncBank/PayPal
  PO Box 965005
  Orlando, FL 32896

  Transworld Systems
  PO Box 15270
  Wilmington, DE 19850

  UHS Pacific Region CBO
  38977 Sky Canyon Dr Ste 200
  Murrieta, CA 92563

  Virginia Mason Medical Center
  PO Box 34924
  Seattle, WA 98124-1924

  WebBank/Gettington
  6250 Ridgewood Rd
  St Cloud, MN 56303

  Wells Fargo Bank
  PO Box 14517
  Des Moines, IA 50306




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(12/94)


                              United States Bankruptcy Court
                                  Western
                              _______________                Washington
                                              District Of _______________


In re
          Melissa Megan Skerritt
                                                                                          Case No. ___________

Debtor                                                                                            7
                                                                                          Chapter _________


               DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1. Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the atto rn ey for the above-
   named debtor(s) and that compensation paid to me w ithin one year before the filing of the petition in
   bankruptcy, o r agreed to be paid to me, fo r services rendered or to be rendered on behalf o f the debto r(s)
   in contemplation of or in connection w ith the bankruptcy case is as follow s:
                                                                                                                             1,250.00
     For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________
                                                                                                                             750.00
     Prior to the fi ling of this statem ent I have recei ved . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________
                                                                                                                             500.00
     Balance D ue . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________

2. The source of the compensati on paid to me w as:

                  D ebtor                        O ther (specify)

3. The source of compensati on to be paid to me is:

                  D ebtor                        O ther (specify)

4.        I have not agreed to share the above-disclosed compensation w ith any other person unl ess they are
          members and associates of my law firm.

          I have agreed to share the above-disclosed compensation w ith a other person or persons w ho are not
          members or associates of my law firm. A copy of the agreement, together w ith a list of the names of
          the people sharing in the compensation, is attached.

5. In return for the above-di sclo sed fee, I have agreed to render legal service for all aspects of the bankruptcy
   case, incl uding:

     a. Analysis of the debtor' s fi nancial situati on, and renderi ng advice to the debtor i n determining w hether
        to file a petiti on in bankruptcy;

     b. Preparation and filing of any petition, schedules, statements of affairs and plan w hich may be required;

     c. Representati on of the debtor at the meeti ng of cred itors and confi rm ati on heari ng, and any adj ourn ed
        hearings thereof;




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   DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR (Continued)


   d. Representation of the debtor in adversary proceedin gs and other contested bankruptcy matters;

   e. [Other provisions as needed]




6. By agreem ent w ith the debtor(s), the above-discl osed fee does not i ncl ude the follow ing services:




                                                 CERTIFICATIO N



         I certify that the foregoing is a complete statement of any agreement or arrangement for
      paym ent to me for representati on of the debtor(s) in this bankru ptcy p ro ceedings.


      January 9, 2017                         /s/ Lance L Lee
      ___________________________            ___________________________________________________
                Date                                           Signature of Attorney

                                              Law Offices of Lance L. Lee
                                             _____________________________________________________________
                                                               Name of law firm




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